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                                                                         APPEAL,CAP,CAT B,HSD

                                    U.S. District Court
                         District of Columbia (Washington, DC)
                  CRIMINAL DOCKET FOR CASE #: 1:22-cr-00015-APM-6


Case title: USA v. RHODES, III et al                     Date Filed: 01/12/2022


Assigned to: Judge Amit P. Mehta

Defendant (6)
ROBERTO A. MINUTA                           represented by William Lee Shipley , Jr.
                                                           LAW OFFICES OF WILLIAM L.
                                                           SHIPLEY
                                                           PO Box 745
                                                           Kailua, HI 96734
                                                           808-228-1341
                                                           Email: 808Shipleylaw@gmail.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Retained

                                                         Alfred Guillaume , III
                                                         LAW OFFICES OF ALFRED
                                                         GUILLAUME III, LLC
                                                         1350 Connecticut Avenue NW
                                                         Suite 308
                                                         Washington, DC 20036
                                                         (202) 321-0549
                                                         Email: ag3law@gmail.com
                                                         TERMINATED: 06/09/2022
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Retained

Pending Counts                                           Disposition
18:2384; SEDITIOUS CONSPIRACY;
Seditious Conspiracy                                     Dismissed on Oral Motion of Government
(1)
                                                         Sentenced to 54 months of incarceration
                                                         followed by 36 months of supervised
18 U.S.C. 2384; SEDITIOUS                                release. These terms of incarceration and
CONSPIRACY; Seditious Conspiracy                         supervised release shall run concurrently
(1s)                                                     with those imposed as to Counts 2s, 3s, and
                                                         4s. Special assessment imposed on this
                                                         count in the amount of $100.
18:1512(k); TAMPERING WITH                               Dismissed on Oral Motion of Government
WITNESS, VICTIM, OR AN
INFORMANT; Conspiracy to Obstruct an
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Official Proceeding
(2)
                                                             Sentenced to 54 months of incarceration
18 U.S.C. 1512(k); TAMPERING WITH                            followed by 36 months of supervised
WITNESS, VICTIM, OR AN                                       release. These terms of incarceration and
INFORMANT; Conspiracy to Obstruct an                         supervised release shall run concurrently
Official Proceeding                                          with those imposed as to Counts 1s, 3s, and
(2s)                                                         4s. Special assessment imposed on this
                                                             count in the amount of $100.
18:1512(c)(2), 2; TAMPERING WITH A
WITNESS, VICTIM OR INFORMANT;
Obstruction of an Official Proceeding and                    Dismissed on Oral Motion of Government
Aiding and Abetting
(3)
                                                             Sentenced to 54 months of incarceration
18 U.S.C. 1512(c)(2), 2; TAMPERING                           followed by 36 months of supervised
WITH A WITNESS, VICTIM OR                                    release. These terms of incarceration and
INFORMANT; Obstruction of an Official                        supervised release shall run concurrently
Proceeding and Aiding and Abetting                           with those imposed as to Counts 1s, 2s, and
(3s)                                                         4s. Special assessment imposed on this
                                                             count in the amount of $100.
18:372; CONSPIRE TO IMPEDE OR
INJURE OFFICER; Conspiracy to Prevent
                                                             Dismissed on Oral Motion of Government
an Officer from Discharging Any Duties
(4)
                                                             Sentenced to 54 months of incarceration
18 U.S.C. 372; CONSPIRE TO IMPEDE                            followed by 36 months of supervised
OR INJURE OFFICER; Conspiracy to                             release. These terms of incarceration and
Prevent an Officer from Discharging Any                      supervised release shall run concurrently
Duties                                                       with those imposed as to Counts 1s, 2s, and
(4s)                                                         3s. Special assessment imposed on this
                                                             count in the amount of $100.
18 U.S.C. 1512(c)(1); TAMPERING WITH
A WITNESS, VICTIM OR INFORMANT;
                                                             Jury Verdict of Not Guilty on 1/23/2023.
Tampering with Documents or Proceedings
(10s)
18:1512(c)(1); TAMPERING WITH A
WITNESS, VICTIM OR INFORMANT;
                                                             Dismissed on Oral Motion of Government
Tampering with Documents or Proceedings
(13)

Highest Offense Level (Opening)
Felony

Terminated Counts                                            Disposition
None

Highest Offense Level (Terminated)
None
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Complaints                                               Disposition
None



Interested Party
PRESS COALITION                            represented by Charles D. Tobin
                                                          BALLARD SPAHR LLP
                                                          1909 K Street, NW
                                                          12th Floor
                                                          Washington, DC 20006
                                                          202-661-2218
                                                          Fax: 202-661-2299
                                                          Email: tobinc@ballardspahr.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED
                                                          Designation: Retained

                                                         Lauren Russell
                                                         BALLARD SPAHR LLP
                                                         1909 K Street, NW
                                                         12th Floor
                                                         Washington, DC 20006
                                                         202-661-2200
                                                         Fax: 202-661-2299
                                                         Email: russelll@ballardspahr.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Retained

                                                         Maxwell S. Mishkin
                                                         BALLARD SPAHR LLP
                                                         1909 K Street, NW
                                                         12th Floor
                                                         Washington, DC 20006
                                                         (202) 508-1140
                                                         Fax: (202) 661-2299
                                                         Email: mishkinm@ballardspahr.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Retained



Interested Party
CONRAD SMITH                               represented by Edward G. Caspar
                                                          LAWYERS' COMMITTEE FOR CIVIL
                                                          RIGHTS UNDER LAW
                                                          1500 K Street, NW
                                                          Suite 900
                                                          Washington, DC 20005
                                                          202-662-8390
            Case 1:22-cr-00015-APM   Document 671     Filed 07/14/23 Page 4 of 49
                                                         Email: ecaspar@lawyerscommittee.org
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Retained



Plaintiff
USA                                       represented by Ahmed Muktadir Baset
                                                         U.S. ATTORNEY'S OFFICE
                                                         United States Attorney's Office for the
                                                         District of Col
                                                         555 Fourth Street, N.W.
                                                         Room 4209
                                                         Washington, DC 20530
                                                         202-252-7097
                                                         Email: ahmed.baset@usdoj.gov
                                                         TERMINATED: 06/09/2023
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Assistant U.S. Attorney

                                                         Alexandra Stalimene Hughes
                                                         U.S. DEPARTMENT OF JUSTICE
                                                         NSD
                                                         950 Pennsylvania Ave NW
                                                         Washington DC, DC 20004
                                                         202-353-0023
                                                         Email: Alexandra.Hughes@usdoj.gov
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Assistant U.S. Attorney

                                                         Jeffrey S. Nestler
                                                         U.S. ATTORNEY'S OFFICE
                                                         555 Fourth Street NW
                                                         Washington, DC 20530
                                                         202-252-7277
                                                         Email: jeffrey.nestler@usdoj.gov
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Assistant U.S. Attorney

                                                         Justin Todd Sher
                                                         U.S. DEPARTMENT OF JUSTICE
                                                         950 Pennsylvania Avenue NW
                                                         Washington, DC 20530
                                                         202-353-3909
                                                         Email: justin.sher@usdoj.gov
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Assistant U.S. Attorney

                                                         Kathryn Leigh Rakoczy
             Case 1:22-cr-00015-APM      Document 671      Filed 07/14/23 Page 5 of 49
                                                              U.S. ATTORNEY'S OFFICE FOR THE
                                                              DISTRICT OF COLUMBIA
                                                              555 Fourth Street, NW
                                                              Washington, DC 20530
                                                              (202) 252-6928
                                                              Fax: (202) 305-8537
                                                              Email: kathryn.rakoczy@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Assistant U.S. Attorney

                                                              Louis J. Manzo
                                                              DOJ-CRM
                                                              1400 New York Ave NW
                                                              Washington, DC 20002
                                                              202-616-2706
                                                              Email: louis.manzo@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Assistant U.S. Attorney

                                                              Troy A. Edwards , Jr.
                                                              U.S. ATTORNEY'S OFFICE FOR THE
                                                              DISTRICT OF COLUMBIA
                                                              555 4th Street, NW
                                                              Washington, DC 20001
                                                              (202) 258-1251
                                                              Email: troy.edwards@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Assistant U.S. Attorney


Date Filed        #      Docket Text
01/12/2022            1 SEALED INDICTMENT as to ELMER STEWART RHODES, III (1) count(s) 1, 2,
                        3, 4, 9, KELLY MEGGS (2) count(s) 1, 2, 3, 4, 5, 10, KENNETH HARRELSON
                        (3) count(s) 1, 2, 3, 4, 5, 11, JESSICA WATKINS (4) count(s) 1, 2, 3, 4, 5, 6,
                        JOSHUA JAMES (5) count(s) 1, 2, 3, 4, 7, 8, 12, ROBERTO A. MINUTA (6)
                        count(s) 1, 2, 3, 4, 13, JOSEPH HACKETT (7) count(s) 1, 2, 3, 4, 5, 14, DAVID
                        MOERSCHEL (8) count(s) 1, 2, 3, 4, 5, 15, BRIAN ULRICH (9) count(s) 1, 2, 3, 4,
                        16, THOMAS EDWARD CALDWELL (10) count(s) 1, 2, 3, 4, 17, EDWARD
                        VALLEJO (11) count(s) 1, 2, 3, 4. (bb) (Entered: 01/14/2022)
01/12/2022            3 MOTION to Seal Case by USA as to ELMER STEWART RHODES, III(1), KELLY
                        MEGGS(2), KENNETH HARRELSON(3), JESSICA WATKINS(4), JOSHUA
                        JAMES(5), ROBERTO A. MINUTA(6), JOSEPH HACKETT(7), DAVID
                        MOERSCHEL(8), BRIAN ULRICH(9), THOMAS EDWARD CALDWELL(10),
                        EDWARD VALLEJO(11). (Attachments: # 1 Text of Proposed Order)(bb) (Entered:
                        01/14/2022)
01/12/2022            4 ORDER granting 3 Motion to Seal Case as to ELMER STEWART RHODES III (1),
                        KELLY MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4),
                        JOSHUA JAMES (5), ROBERTO A. MINUTA (6), JOSEPH HACKETT (7),
                        DAVID MOERSCHEL (8), BRIAN ULRICH (9), THOMAS EDWARD
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                         CALDWELL (10), EDWARD VALLEJO (11). Signed by Judge Amit P. Mehta on
                         1/12/2022. (bb) (Entered: 01/14/2022)
01/13/2022              Case unsealed as to ELMER STEWART RHODES, III(1), KELLY MEGGS(2),
                        KENNETH HARRELSON(3), JESSICA WATKINS(4), JOSHUA JAMES(5),
                        ROBERTO A. MINUTA(6), JOSEPH HACKETT(7), DAVID MOERSCHEL(8),
                        BRIAN ULRICH(9), THOMAS EDWARD CALDWELL(10), EDWARD
                        VALLEJO(11). (bb) (Entered: 01/14/2022)
01/18/2022           7 MOTION for Order to Adopt the Record of Case No. 21-cr-28 by USA as to
                       ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                       JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH
                       HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO. (Attachments: # 1 Text of Proposed Order)
                       (Nestler, Jeffrey) (Entered: 01/18/2022)
01/19/2022           8 ORDER granting 7 Motion for Order as to ELMER STEWART RHODES III (1),
                       KELLY MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4),
                       JOSHUA JAMES (5), ROBERTO A. MINUTA (6), JOSEPH HACKETT (7),
                       DAVID MOERSCHEL (8), BRIAN ULRICH (9), THOMAS EDWARD
                       CALDWELL (10), EDWARD VALLEJO (11). The court hereby adopts the record
                       in case 21-cr-28-APM through January 12, 2022, as the record in the instant case.
                       See attached Order for additional details. Signed by Judge Amit P. Mehta on
                       1/19/2022. (lcapm1) (Entered: 01/19/2022)
01/20/2022           9 NOTICE of Certification in Response to Court's December 23, 2021 Order by USA
                       as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                       HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                       JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                       EDWARD CALDWELL, EDWARD VALLEJO (Nestler, Jeffrey) (Entered:
                       01/20/2022)
01/21/2022              MINUTE ORDER. The parties in this newly indicted matter shall appear for a
                        consolidated status conference with case 21-cr-28, as previously scheduled, on
                        Tuesday, January 25, 2022, at 11:00 a.m. Arrangements are being made for detained
                        defendants to participate remotely. The courtroom deputy will circulate
                        teleconference information to counsel and non-detained defendants. Members of the
                        public may access the conference by dialing the court's toll-free public access line:
                        (877) 848-7030, access code 321-8747. The public access line will be muted and
                        should only be used by non-participating parties. Signed by Judge Amit P. Mehta on
                        1/21/2022. (lcapm1) (Entered: 01/21/2022)
01/24/2022          13 NOTICE OF ATTORNEY APPEARANCE: Alfred Guillaume, III appearing for
                       ROBERTO A. MINUTA (Guillaume, Alfred) (Entered: 01/24/2022)
01/24/2022              NOTICE OF HEARING as to ELMER STEWART RHODES, III (1), KELLY
                        MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), JOSHUA
                        JAMES (5), ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID
                        MOERSCHEL (8), BRIAN ULRICH (9), THOMAS EDWARD CALDWELL (10):
                        Arraignment set for 1/25/2022 at 11:00 AM via videoconference before Judge Amit
                        P. Mehta. Members of the public may access the conference by dialing the
                        court's toll-free public access line: (877) 848-7030, access code 321-8747.(zjd)
                        (Entered: 01/24/2022)
01/25/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Arraignment as to
                        ELMER STEWART RHODES III (1), KELLY MEGGS (2), KENNETH
                        HARRELSON (3), JESSICA WATKINS (4), JOSHUA JAMES (5), ROBERTO A.
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                         MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), BRIAN
                         ULRICH (9), and THOMAS EDWARD CALDWELL (10) held via
                         videoconference on 1/25/2022. Plea of Not Guilty by ELMER STEWART
                         RHODES III (1) as to Counts 1, 2, 3, 4, and 9. Plea of Not Guilty by KELLY
                         MEGGS (2) as to Counts 1, 2, 3, 4, 5, and 10. Plea of Not Guilty by KENNETH
                         HARRELSON (3) as to Counts 1, 2, 3, 4, 5, and 11. Plea of Not Guilty by JESSICA
                         WATKINS (4) as to Counts 1, 2, 3, 4, 5, and 6. Plea of Not Guilty by JOSHUA
                         JAMES (5) as to Counts 1, 2, 3, 4, 7, 8, and 12. Plea of Not Guilty by ROBERTO A.
                         MINUTA (6) as to Counts 1, 2, 3, 4, and 13. Plea of Not Guilty by JOSEPH
                         HACKETT (7) as to Counts 1, 2, 3, 4, 5, and 14. Plea of Not Guilty by DAVID
                         MOERSCHEL (8) as to Counts 1, 2, 3, 4, 5, and 15. Plea of Not Guilty by BRIAN
                         ULRICH (9) as to Counts 1, 2, 3, 4, and 16. Plea of Not Guilty by THOMAS
                         EDWARD CALDWELL (10) as to Counts 1, 2, 3, 4, and 17. In the interests of
                         justice, and for the reasons stated on the record, the time from 1/26/2022 through
                         and including 3/4/2022 shall be excluded in computing the date for speedy trial in
                         this case. Status Conference set for 3/4/2022 at 1:00 PM via videoconference before
                         Judge Amit P. Mehta. Jury Trial set for 7/11/2022 at 9:30 AM in Ceremonial
                         Courtroom before Judge Amit P. Mehta. Second Jury Trial set for 9/26/2022 at 9:30
                         AM in Ceremonial Courtroom before Judge Amit P. Mehta. Members of the public
                         may access the hearings by dialing the court's toll-free public access line: (877)
                         848-7030, access code 321-8747. Bond Status of Defendants: Rhodes (1) remains
                         in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-custody,
                         Watkins (4) remains in-custody, James (5) placed on PR/HISP, Minuta (6) placed on
                         PR/HISP, Hackett (7) placed on PR/HISP, Moerschel (8) placed on personal
                         recognizance, Ulrich (9) placed on personal recognizance, Caldwell (10) placed on
                         PR/HISP; Court Reporter: William Zaremba; Defense Attorneys: Philip Linder (1),
                         Jonathan Moseley (2), Bradford Geyer (3), Jonathan Crisp (4), Joan Robin (5),
                         Chris Leibig (5), Alfred Guillaume (6), Angie Halim (7), Scott Weinberg (9), A.J.
                         Balbo (9), David Fischer (10); US Attorneys: Kathryn Rakoczy and Jeffrey Nestler;
                         Pretrial Officer: Christine Schuck. (zjd) (Entered: 01/26/2022)
01/27/2022            26 ORDER Setting Conditions of Release as to ROBERTO A. MINUTA (6). Signed by
                         Judge Amit P. Mehta on 1/25/2022. (Attachment: # 1 Appearance Bond) (zjd)
                         (Entered: 01/27/2022)
02/10/2022            44 STATUS REPORT REGARDING DISCOVERY by USA as to ELMER STEWART
                         RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                         JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                         VALLEJO (Rakoczy, Kathryn) (Entered: 02/10/2022)
03/04/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                          as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                          HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                          HACKETT (7), DAVID MOERSCHEL (8), BRIAN ULRICH (9), THOMAS
                          EDWARD CALDWELL (10), EDWARD VALLEJO (11) held via videoconference
                          on 3/4/2022. Defendant Vallejo (11) was not present for these proceedings. In the
                          interests of justice, and for the reasons stated on the record, the time from 3/5/2022
                          through and including 4/8/2022 shall be excluded in computing the date for speedy
                          trial in this case. Status Conference set for 4/8/2022 at 10:00 AM via
                          videoconference before Judge Amit P. Mehta. Members of the public may access
                          the hearings by dialing the court's toll-free public access line: (877) 848-7030,
                          access code 321-8747. Bond Status of Defendants: Rhodes (1) remains in-custody,
                          Meggs (2) remains in-custody, Harrelson (3) remains in-custody, Watkins (4)
                          remains in-custody, Minuta (6) placed on PR/HISP, Hackett (7) placed on PR/HISP,
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                         Moerschel (8) placed on personal recognizance, Ulrich (9) placed on personal
                         recognizance, Caldwell (10) placed on PR/HISP; Court Reporter: William Zaremba;
                         Defense Attorneys: Philip Linder (1), James Bright (1), Jonathan Moseley (2),
                         Bradford Geyer (3), Jonathan Crisp (4), Alfred Guillaume (6), Angie Halim (7),
                         Scott Weinberg (8), A.J. Balbo (9), David Fischer (10); Matthew Peed (11) US
                         Attorneys: Kathryn Rakoczy and Jeffrey Nestler; Pretrial Officer: Christine Schuck.
                         (zjd) (Entered: 03/04/2022)
03/11/2022                MINUTE ORDER. The 39 court order requiring Defendant ELMER STEWART
                          RHODES, III (1), to remain at his present facility in Oklahoma is hereby lifted. The
                          U.S. Marshals Service may move Defendant Rhodes to a facility that it determines
                          to be appropriate. Signed by Judge Amit P. Mehta on 3/11/2022. (lcapm1) (Entered:
                          03/11/2022)
03/15/2022            64 ORDER as to Defendants ELMER STEWART RHODES, III, KELLY MEGGS,
                         KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA,
                         JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                         EDWARD CALDWELL, and EDWARD VALLEJO. Trial is set to commence in
                         this matter on July 11, 2022, at 9:30 a.m. The following deadlines shall govern this
                         matter: (1) parties shall file their pretrial motions (other than motions in limine) on
                         or before April 15, 2022; (2) oppositions to pretrial motions shall be filed on or
                         before April 29, 2022; (3) replies to pretrial motions shall be filed on or before May
                         6, 2022; (4) counsel shall reserve May 17, 2022, at 1:00 p.m. for a hearing on
                         pretrial motions, if necessary; (5) the United States shall make any required expert
                         disclosures by May 23, 2022; (6) Defendants shall make any required reciprocal
                         expert disclosures by June 6, 2022; (7) the United States shall notify Defendant of
                         its intention to introduce any Rule 404(b) evidence not already disclosed on or
                         before June 13, 2022; (8) motions in limine shall be filed on or before June 3, 2022;
                         (9) oppositions to motions in limine shall be filed on or before June 17, 2022; (10)
                         replies in support of motions in limine shall be filed on or before June 24, 2022;
                         (11) any motions in limine by the United States shall be filed by June 16, 2022; (12)
                         oppositions to such motions shall be filed by June 24, 2022; (13) Defendants shall
                         satisfy their reciprocal discovery obligations, if any, by June 23, 2022; (14) the
                         United States shall file any motion in limine pursuant to such discovery by June 30,
                         2022; (15) oppositions to such motions shall be filed by July 6, 2022; (16) the
                         United States should endeavor to make grand jury and Jencks Act disclosures as to
                         each witness it expects to call in its case-in-chief and disclose any Brady material
                         not already disclosed on or before July 1, 2022; (17) the parties shall file a draft
                         Joint Juror Questionnaire by June 6, 2022; (18) qualified prospective jurors will
                         appear on June 27, 2022 to answer the finalized version of the Questionnaire; (19)
                         the parties' Joint Pretrial Statement is due on or before June 24, 2022; (20) the
                         parties shall submit a Word format copy of (a) any proposed modification to a
                         standard jury instruction, (b) any non-standard jury instruction, and (c) the verdict
                         form on or before June 24, 2022; and (21) the Pretrial Conference previously
                         scheduled for July 6, 2022, is hereby vacated and rescheduled for July 1, 2022, at
                         10:00 a.m. in Courtroom 10. See the attached Order for additional details. Signed by
                         Judge Amit P. Mehta on 3/15/2022. (lcapm1) (Entered: 03/15/2022)
03/19/2022            66 MOTION to Continue Trial by ROBERTO A. MINUTA as to ELMER STEWART
                         RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                         JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                         VALLEJO. (Guillaume, Alfred) (Entered: 03/19/2022)
03/21/2022            67 RESPONSE by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                         KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
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                         MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                         THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 66 MOTION to
                         Continue Trial (Rakoczy, Kathryn) (Entered: 03/21/2022)
03/29/2022         68 ORDER denying 65 Motion to Continue Deadline for Filing Rule 12(b) Motions
                      and denying 66 Motion to Continue Trial. See the attached Order for additional
                      details. Signed by Judge Amit P. Mehta on 3/29/2022. (lcapm1) (Entered:
                      03/29/2022)
04/04/2022         69 NOTICE OF ATTORNEY APPEARANCE: William Lee Shipley, Jr appearing for
                      ROBERTO A. MINUTA (Shipley, William) (Main Document 69 replaced on
                      4/15/2022) (zltp). (Entered: 04/04/2022)
04/07/2022         76 TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                      ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                      JESSICA WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                      MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                      VALLEJO before Judge Amit P. Mehta held on March 4, 2022; Page Numbers: 1-
                      72. Date of Issuance: April 7, 2022. Court Reporter/Transcriber: William Zaremba;
                      Telephone number: (202) 354-3249. Transcripts may be ordered by submitting the
                      Transcript Order Form

                       For the first 90 days after this filing date, the transcript may be viewed at the
                       courthouse at a public terminal or purchased from the court reporter referenced
                       above. After 90 days, the transcript may be accessed via PACER. Other transcript
                       formats, (multi-page, condensed, PDF or ASCII) may be purchased from the court
                       reporter.

                       NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one
                       days to file with the court and the court reporter any request to redact personal
                       identifiers from this transcript. If no such requests are filed, the transcript will be
                       made available to the public via PACER without redaction after 90 days. The policy,
                       which includes the five personal identifiers specifically covered, is located on our
                       website at www.dcd.uscourts.gov.

                       Redaction Request due 4/28/2022. Redacted Transcript Deadline set for 5/8/2022.
                       Release of Transcript Restriction set for 7/6/2022.(wz) (Main Document 76 replaced
                       on 4/22/2022) (zltp). (Entered: 04/07/2022)
04/08/2022         79 ORDER granting 73 Unopposed Motion to Modify Conditions of Release as to
                      THOMAS EDWARD CALDWELL (10). See the attached Order for additional
                      details. Signed by Judge Amit P. Mehta on 4/7/2022. (lcapm1) (Entered:
                      04/08/2022)
04/08/2022             Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                       as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                       HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                       HACKETT (7), DAVID MOERSCHEL (8), BRIAN ULRICH (9), THOMAS
                       EDWARD CALDWELL (10), EDWARD VALLEJO (11) held via videoconference
                       on 4/8/2022. In the interests of justice, and for the reasons stated on the record, the
                       time from 4/9/2022 through and including 7/11/2022 shall be excluded in
                       computing the date for speedy trial as to defendants HARRELSON (3), WATKINS
                       (4), HACKETT (7), MOERSCHEL (8), and CALDWELL (10). In the interests of
                       justice, and for the reasons stated on the record, the time from 4/9/2022 through and
                       including 9/26/222 shall be excluded in computing the date for speedy trial as to
                       RHODES (1), MEGGS (2), MINUTA (6), ULRICH (9), and VALLEJO (11). Status
             Case 1:22-cr-00015-APM Document 671 Filed 07/14/23 Page 10 of 49
                          Conference as to MEGGS (2) set for 4/22/2022 at 9:00 AM via videoconference
                          before Judge Amit P. Mehta. Status Conference as to HARRELSON (3), WATKINS
                          (4), HACKETT (7), MOERSCHEL (8), and CALDWELL (10) set for 5/6/2022 at
                          1:00 PM via videoconference before Judge Amit P. Mehta. Status Conference as to
                          RHODES (1), MEGGS (2), MINUTA (6), ULRICH (9), and VALLEJO (11) set for
                          5/6/2022 at 02:30 PM via videoconference before Judge Amit P. Mehta. Members of
                          the public may access the hearings by dialing the court's toll-free public access line:
                          (877) 848-7030, access code 321-8747. Bond Status of Defendants: Rhodes (1)
                          remains in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-
                          custody, Watkins (4) remains in-custody, Minuta (6) remains on PR/HISP, Hackett
                          (7) remains on PR/HISP, Moerschel (8) remains on personal recognizance, Ulrich
                          (9) remains on personal recognizance, Caldwell (10) remains on PR/HISP, Vallejo
                          (11) remains in-custody; Court Reporter: William Zaremba; Defense Attorneys:
                          Philip Linder (1), Jonathan Moseley (2), Bradford Geyer (3), Jonathan Crisp (4),
                          Alfred Guillaume, III and William Shipley, Jr. (6), Angie Halim (7), Scott Weinberg
                          (8), A.J. Balbo (9), David Fischer (10), Matthew Peed (11); US Attorney: Kathryn
                          Rakoczy. (zjd) (Entered: 04/21/2022)
04/11/2022                  Set/Reset Deadlines as to ROBERTO A. MINUTA: Redacted version of the
                            Motions due by 4/15/2022. (zjch, ) (Entered: 04/11/2022)
04/11/2022             83 MOTION for Joinder and Adopt Co-Defendant Thomas Caldwell's Motion to
                          Dismiss by ROBERTO A. MINUTA. (Shipley, William) (Entered: 04/11/2022)
04/12/2022             84 MOTION to Dismiss Count 1, 2, 3 and 4 of the Indictment by THOMAS EDWARD
                          CALDWELL. (Fischer, David) (Entered: 04/12/2022)
04/12/2022                  MINUTE ORDER granting 83 Motion for Joinder. Defendant ROBERTO A.
                            MINUTA (6) hereby joins Defendant THOMAS EDWARD CALDWELL (10)'s 84
                            MOTION to Dismiss Count 1, 2, 3 and 4 of the Indictment. Signed by Judge Amit P.
                            Mehta on 4/12/2022. (lcapm1) (Entered: 04/12/2022)
04/13/2022                  MINUTE ORDER. Counsel for Defendant KELLY MEGGS, Jonathon Moseley,
                            shall refrain from filing any additional motions on behalf of Defendant Meggs while
                            action on Mr. Moseley's bar status before this District Court remains pending. At
                            this juncture, Mr. Moseley remains only caretaker counsel until successor counsel
                            enters an appearance. The court will consider those motions already filed by Mr.
                            Moseley, but no more, absent exigent circumstances and leave of court. The court
                            will accommodate the need for additional time for Defendant Meggs to file Rule 12
                            motions upon entry of successor counsel. Signed by Judge Amit P. Mehta on
                            4/13/2022. (lcapm1) (Entered: 04/13/2022)
04/15/2022             88 REDACTED DOCUMENT by ROBERTO A. MINUTA of Motion for
                          Miscellaneous Relief (Guillaume, Alfred) (Entered: 04/15/2022)
04/15/2022             90 MOTION to Dismiss Count 14 by JOSEPH HACKETT. (Halim, Angela) (Main
                          Document 90 replaced on 4/18/2022) (zltp). (Entered: 04/15/2022)
04/15/2022             91 MOTION to Sever Count(s) 14 by JOSEPH HACKETT. (Halim, Angela) (Main
                          Document 91 replaced on 4/18/2022) (zltp). (Entered: 04/15/2022)
04/15/2022             93 MOTION to Change Venue by THOMAS EDWARD CALDWELL. (Attachments:
                          # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Text of Proposed Order)(Fischer, David)
                          (Entered: 04/15/2022)
04/16/2022             94 MOTION to Dismiss Count One, MOTION to Strike Surplussage by EDWARD
                          VALLEJO as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                          HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
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                          JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                          EDWARD CALDWELL, EDWARD VALLEJO. (Attachments: # 1 Text of
                          Proposed Order)(Peed, Matthew) (Entered: 04/16/2022)
04/18/2022         101 MOTION for Joinder of Motions Filed by Co-Defendants re: 90 , 91 , 93 and 94 by
                       ROBERTO A. MINUTA. (Shipley, William) Modified to include linkage on
                       5/9/2022 (zltp). (Entered: 04/18/2022)
04/19/2022              MINUTE ORDER granting Defendant ROBERTO MINUTA's 101 Motion for
                        Joinder. Signed by Judge Amit P. Mehta on 4/19/2022. (lcapm1) (Entered:
                        04/19/2022)
04/19/2022         155 LEAVE TO FILE DENIED- Second motion for Dual Appellate and quad writ en
                       banc as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                       HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                       JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                       EDWARD CALDWELL, EDWARD VALLEJO This document is unavailable as the
                       Court denied its filing. Signed by Judge Amit P. Mehta on 4/18/2022. (zltp)
                       (Entered: 06/15/2022)
04/19/2022         156 LEAVE TO FILE DENIED- Third motion for Dual Appellate and quad writ en banc
                       as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                       HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                       JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                       EDWARD CALDWELL, EDWARD VALLEJO This document is unavailable as the
                       Court denied its filing. Signed by Judge Amit P. Mehta on 4/18/2022. (zltp)
                       (Entered: 06/15/2022)
04/19/2022         157 LEAVE TO FILE DENIED- Fourth & Fifth motion for Dual Appellate and quad
                       writ en banc as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                       HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                       JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                       EDWARD CALDWELL, EDWARD VALLEJO This document is unavailable as the
                       Court denied its filing. Signed by Judge Amit P. Mehta on 4/18/2022. (zltp)
                       (Entered: 06/15/2022)
04/19/2022         158 LEAVE TO FILE DENIED- Nineteenth Notice as to ELMER STEWART
                       RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                       JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                       MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                       VALLEJO This document is unavailable as the Court denied its filing. Signed by
                       Judge Amit P. Mehta on 4/18/2022. (zltp) (Entered: 06/15/2022)
04/26/2022         106 MOTION to Continue Deadline for Responding to Rule 12 Motions by USA as to
                       ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                       JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH
                       HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO. (Rakoczy, Kathryn) (Entered: 04/26/2022)
04/27/2022              MINUTE ORDER granting in part the United States' 106 Motion for Extension of
                        Deadline to Respond to Defendants' Rule 12 Motions. Given the court's schedule,
                        the requested seven-day extension of both the opposition and reply deadlines will
                        not allow enough time for the court to adequately prepare for the hearing, if briefing
                        were to close on May 13, 2022. The court will grant a five-day extension, such that
                        the United States' response shall be due on May 4, 2022, and Defendants' replies
                        shall be due on May 11, 2022. Signed by Judge Amit P. Mehta on 4/27/2022.
                        (lcapm1) (Entered: 04/27/2022)
             Case 1:22-cr-00015-APM      Document 671        Filed 07/14/23      Page 12 of 49
04/29/2022         113 ORDER granting 110 Unopposed Motion to Modify Conditions of Release as to
                       THOMAS EDWARD CALDWELL (10). See the attached Order for additional
                       details. Signed by Judge Amit P. Mehta on 4/29/2022. (lcapm1) (Entered:
                       04/29/2022)
05/01/2022              MINUTE ORDER granting 111 , 112 Sealed Motions for Leave to File Documents
                        Under Seal as to Defendant ROBERTO A. MINUTA (6). (These documents are
                        SEALED and only available to authorized persons.) The Clerk of Court shall
                        maintain 111 , 112 under seal. Defendant shall file public versions of those motions
                        by May 4, 2022, redacting only those portions that pertain to Defendant's personal
                        financial circumstances. Signed by Judge Amit P. Mehta on 5/1/2022. (lcapm1)
                        (Entered: 05/01/2022)
05/03/2022         114 REDACTED DOCUMENT by ROBERTO A. MINUTA to Order on Sealed Motion
                       for Leave to File Document Under Seal,,, of Motion for Reconsideration
                       (Guillaume, Alfred) (Entered: 05/03/2022)
05/04/2022         120 RESPONSE by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                       KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                       THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 93 MOTION to
                       Change Venue (Attachments: # 1 Exhibit Appendix of Transcript Citations)
                       (Rakoczy, Kathryn) (Entered: 05/04/2022)
05/04/2022         121 RESPONSE by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                       KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                       THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 91 MOTION to Sever
                       Count(s) 14, 90 MOTION to Dismiss Count 14 (Rakoczy, Kathryn) (Entered:
                       05/04/2022)
05/04/2022         123 RESPONSE by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                       KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                       THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 89 MOTION to
                       Dismiss Count 1, 2, 3, and 4, 82 MOTION to Dismiss Count I of the Seventh
                       Superseding Indictment, adopting and supplementing Motion to Dismiss of Thomas
                       Caldwell, incorporated by reference herein, 84 MOTION to Dismiss Count 1, 2, 3
                       and 4 of the Indictment, 94 MOTION to Dismiss Count One MOTION to Strike
                       Surplussage (Rakoczy, Kathryn) (Entered: 05/04/2022)
05/05/2022              MINUTE ORDER. The pending 124 Motion to Continue Trial potentially impacts
                        both trial groups, so the court will hold a combined status hearing in this matter as
                        to all Defendants on May 6, 2022. The combined hearing will begin at 2:00 p.m.
                        Signed by Judge Amit P. Mehta on 5/5/2022. (lcapm1) (Entered: 05/05/2022)
05/06/2022              ***Set/Reset Hearings. (zjd) (Entered: 05/06/2022)
05/06/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                        as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                        HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                        HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                        (10), and EDWARD VALLEJO (11) held via videoconference on 5/6/2022. For the
                        reasons stated on the record, the Court grants 124 Defendant's Motion to Continue
                        Trial. Jury Trial shall proceed on September 26, 2022 for defendants Rhodes (1),
                        Meggs (2), Harrelson (3), Watkins (4), and Caldwell (10). A second Jury Trial shall
                        take place on November 29, 2022 for defendants Minuta (6), Hackett (7), Moerschel
             Case 1:22-cr-00015-APM Document 671 Filed 07/14/23 Page 13 of 49
                          (8), and Vallejo (11). In the interests of justice, the time from 5/7/2022 through and
                          including 9/26/2022 shall be excluded in computing the date for speedy trial as to
                          defendants Rhodes (1), Meggs (2), Harrelson (3), Watkins (4), and Caldwell (10). In
                          the interests of justice, the time from 5/7/2022 through and including 11/29/2022
                          shall be excluded in computing the date for speedy trial as to defendants Minuta (6),
                          Hackett (7), Moerschel (8), and Vallejo (11). Bond Status of Defendants: Rhodes (1)
                          remains in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-
                          custody, Watkins (4) remains in-custody, Minuta (6) remains on PR/HISP, Hackett
                          (7) remains on PR/HISP, Moerschel (8) remains on personal recognizance, Caldwell
                          (10) remains on PR/HISP, Vallejo (11) remains on PR/HISP; Court Reporter:
                          William Zaremba; Defense Attorneys: James Bright (1), Phillip Linder (1), Jonathan
                          Moseley as caretaker counsel (2); Bradford Geyer (3), Jonathan Crisp (4), Alfred
                          Guillaume (6), William Shipley (6), Angela Halim (7), Scott Weinberg (8), David
                          Fischer (10), and Matthew Peed (11); US Attorney: Kathryn Rakoczy. (zjd)
                          (Entered: 05/06/2022)
05/10/2022                 MINUTE ORDER granting 130 Consent Motion for Extension of Time to File
                           Response/Reply as to THOMAS EDWARD CALDWELL (10). Defendant
                           THOMAS EDWARD CALDWELL's (10) Reply is now due on May 12, 2022.
                           Signed by Judge Amit P. Mehta on 5/10/2022. (lcapm1) (Entered: 05/10/2022)
05/12/2022           133 ORDER as to Defendants ELMER STEWART RHODES, III, KELLY MEGGS,
                         KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA,
                         JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD CALDWELL,
                         and EDWARD VALLEJO. Trial is set to commence in this matter on September 26,
                         2022, at 9:30 a.m., for the September Trial Group and on November 29, 2022, at
                         9:30 a.m., for the November Trial Group. The following deadlines shall govern this
                         matter: (1) parties shall file their pretrial motions (other than motions in limine) on
                         or before April 15, 2022; (2) oppositions to pretrial motions shall be filed on or
                         before May 4, 2022; (3) replies to pretrial motions shall be filed on or before May
                         11, 2022; (4) counsel shall reserve May 17, 2022, at 1:00 p.m. for a hearing on
                         pretrial motions, if necessary; (5) the United States shall make any required expert
                         disclosures by June 23, 2022; (6) Defendants shall make any required reciprocal
                         expert disclosures by July 22, 2022; (7) the United States shall notify the September
                         Trial Group of its intention to introduce any Rule 404(b) evidence not already
                         disclosed on or before July 8, 2022; (8) the United States shall notify the November
                         Trial Group of any additional Rule 404(b) evidence by October 10, 2022; (9)
                         motions in limine for the September Trial Group shall be filed on or before July 29,
                         2022; (10) oppositions to those motions in limine shall be filed on or before August
                         12, 2022; (11) replies in support of motions in limine shall be filed on or before
                         August 19, 2022; (12) any November Trial Group Defendant may file an
                         individualized motion in limine by the July 29, 2022 deadline; otherwise, upon
                         filing of a notice, the court will treat the November Trial Group as having joined in
                         the motions in limine filed by the September Trial Group; (13) additional motions in
                         limine can be filed by the November Trial Group by October 31, 2022; (14)
                         oppositions to those motions in limine shall be filed by November 10, 2022; (15)
                         replies shall be filed by November 15, 2022; (16) any motions in limine by the
                         United States shall be filed by August 12, 2022; (17) oppositions to such motions
                         shall be filed by August 26, 2022; (18) Defendants shall satisfy their reciprocal
                         discovery obligations, if any, by July 22, 2022; (19) the United States shall file any
                         motion in limine pursuant to such discovery by August 12, 2022; (20) oppositions to
                         such motions shall be filed by August 26, 2022; replies to such motions shall be
                         filed by September 2, 2022; (21) the United States should endeavor to make grand
                         jury and Jencks Act disclosures as to each witness it expects to call in its case-in-
                         chief and disclose any Brady material not already disclosed on or before September
             Case 1:22-cr-00015-APM Document 671 Filed 07/14/23 Page 14 of 49
                          12, 2022; (22) the Jencks/Brady deadline for the November Trial Group is
                          November 15, 2022; (23) the parties shall file a draft Joint Juror Questionnaire by
                          August 23, 2022; (24) qualified prospective jurors will appear on September 13,
                          2022 to answer the finalized version of the Questionnaire; (25) qualified prospective
                          jurors for the November trial shall appear on November 10, 2022 to answer the final
                          version of the questionnaire; (26) the September Trial Group's Joint Pretrial
                          Statement is due on or before September 7, 2022; (27) the November Trial Group's
                          Joint Pretrial Statement is due on November 15, 2022; (28) the parties shall submit
                          a Word format copy of (a) any proposed modification to a standard jury instruction,
                          (b) any non-standard jury instruction, and (c) the verdict form; and (29) the Pretrial
                          Conference is scheduled for September 14, 2022, at 9:30 a.m., in Courtroom 10 for
                          the September Trial Group; (30) the Pretrial Conference is scheduled for November
                          22, 2022, at 9:30 a.m., for the November Trial Group. See the attached Order for
                          additional details. Signed by Judge Amit P. Mehta on 5/12/2022. (lcapm1) (Entered:
                          05/12/2022)
05/17/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Hearing on Rule 12
                           Motions as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2),
                           KENNETH HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA
                           (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD
                           CALDWELL (10), and EDWARD VALLEJO (11) held on 5/17/2022. Arguments
                           heard and taken under advisement. Defendant Harrelson's Oral Motion to Withdraw
                           127 Motion for Discovery was heard and granted. Status Conference set for
                           6/24/2022 at 1:00 PM via videoconference before Judge Amit P. Mehta. Members of
                           the public may access the conference by dialing the court's toll-free public access
                           line: (877) 848-7030, access code 321-8747. Bond Status of Defendant: Rhodes (1)
                           remains in-custody, Meggs (2) remains in-custody, Harrelson (3) remains in-
                           custody, Watkins (4) remains in-custody, Minuta (6) remains on PR/HISP, Hackett
                           (7) remains on PR/HISP, Moerschel (8) remains on PR/HISP; appearance waived,
                           Caldwell (10) remains on PR/HISP; appearance waived, Vallejo (11) remains on
                           PR/HISP. Court Reporter: William Zaremba; Defense Attorneys: Phillip Linder (1),
                           Stanley Woodward (2), Juli Haller (2), Bradford Geyer (3), Jonathan Crisp (4),
                           William Shipley (6), Angela Halim (7), Scott Weinberg (8), David Fischer (10), and
                           Matthew Peed (11); US Attorneys: Jeffrey Nestler and Kathryn Rakoczy. (zjd)
                           (Entered: 05/17/2022)
05/20/2022                 MINUTE ORDER. The United States shall file by October 28, 2022, an additional
                           Status Report as to whether a sentencing hearing should be set for Defendants
                           JOSHUA JAMES and BRIAN ULRICH; if so, the United States shall propose two
                           dates and times for such hearings. Signed by Judge Amit P. Mehta on 5/20/2022.
                           (lcapm1) (Entered: 05/20/2022)
06/03/2022           151 TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                         ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                         JESSICA WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                         Judge Amit P. Mehta held on May 6, 2022; Page Numbers: 1-66. Date of Issuance:
                         June 3, 2022. Court Reporter/Transcriber: William Zaremba; Telephone number:
                         (202) 354-3249. Transcripts may be ordered by submitting the T ranscript Order
                         Form

                           For the first 90 days after this filing date, the transcript may be viewed at the
                           courthouse at a public terminal or purchased from the court reporter referenced
                           above. After 90 days, the transcript may be accessed via PACER. Other transcript
             Case 1:22-cr-00015-APM Document 671 Filed 07/14/23 Page 15 of 49
                          formats, (multi-page, condensed, PDF or ASCII) may be purchased from the court
                          reporter.

                           NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one
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                           made available to the public via PACER without redaction after 90 days. The policy,
                           which includes the five personal identifiers specifically covered, is located on our
                           website at www.dcd.uscourts.gov.

                           Redaction Request due 6/24/2022. Redacted Transcript Deadline set for 7/4/2022.
                           Release of Transcript Restriction set for 9/1/2022.(wz) (Entered: 06/03/2022)
06/08/2022           152 MOTION to Withdraw as Attorney by Alfred Guillaume. by ROBERTO A.
                         MINUTA. (Guillaume, Alfred) (Entered: 06/08/2022)
06/09/2022                 MINUTE ORDER granting 152 Motion to Withdraw as Attorney. Alfred Guillaume,
                           III is hereby withdrawn as counsel for ROBERTO A. MINUTA (6). Signed by
                           Judge Amit P. Mehta on 6/9/2022. (lcapm1) (Entered: 06/09/2022)
06/17/2022           159 TRANSCRIPT OF MOTION HEARING PROCEEDINGS in case as to ELMER
                         STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                         WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                         Judge Amit P. Mehta held on May 17, 2022; Page Numbers: 1-165. Date of
                         Issuance: June 17, 2022. Court Reporter/Transcriber: William Zaremba; Telephone
                         number: (202) 354-3249. Transcripts may be ordered by submitting the T ranscript
                         Order Form

                           For the first 90 days after this filing date, the transcript may be viewed at the
                           courthouse at a public terminal or purchased from the court reporter referenced
                           above. After 90 days, the transcript may be accessed via PACER. Other transcript
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                           reporter.

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                           which includes the five personal identifiers specifically covered, is located on our
                           website at www.dcd.uscourts.gov.

                           Redaction Request due 7/8/2022. Redacted Transcript Deadline set for 7/18/2022.
                           Release of Transcript Restriction set for 9/15/2022.(wz) (Entered: 06/17/2022)
06/22/2022           166 MOTION for Inquiry Pursuant to D.C. Rule of Professional Conduct 1.8(e) by USA
                         as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                         HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                         JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                         EDWARD CALDWELL, EDWARD VALLEJO. (Attachments: # 1 Exhibit Mother
                         Jones article, # 2 Exhibit BuzzFeed article, # 3 Exhibit June 16, 2022 letter)(Nestler,
                         Jeffrey) (Entered: 06/22/2022)
06/22/2022           167 SUPERSEDING INDICTMENT as to ELMER STEWART RHODES, III (1)
                         count(s) 1s, 2s, 3s, 4s, 7s, KELLY MEGGS (2) count(s) 1s, 2s, 3s, 4s, 5s, 8s,
                         KENNETH HARRELSON (3) count(s) 1s, 2s, 3s, 4s, 5s, 9s, JESSICA WATKINS
             Case 1:22-cr-00015-APM Document 671 Filed 07/14/23 Page 16 of 49
                          (4) count(s) 1s, 2s, 3s, 4s, 5s, 6s, ROBERTO A. MINUTA (6) count(s) 1s, 2s, 3s, 4s,
                          10s, JOSEPH HACKETT (7) count(s) 1s, 2s, 3s, 4s, 5s, 11s, DAVID MOERSCHEL
                          (8) count(s) 1s, 2s, 3s, 4s, 5s, 12s, THOMAS EDWARD CALDWELL (10) count(s)
                          1s, 2s, 3s, 4s, 13s, EDWARD VALLEJO (11) count(s) 1s, 2s, 3s, 4s. (zltp) (Entered:
                          06/23/2022)
06/24/2022           170 MOTION to Dismiss Case (Superseding Indictment) by KELLY MEGGS, JESSICA
                         WATKINS, ROBERTO A. MINUTA, DAVID MOERSCHEL, THOMAS
                         EDWARD CALDWELL as to ROBERTO A. MINUTA. (Attachments: # 1
                         Certificate of Service)(Shipley, William) (Entered: 06/24/2022)
06/24/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                           as to ELMER STEWART RHODES III (1), KELLY MEGGS (2), KENNETH
                           HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                           HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                           (10), EDWARD VALLEJO (11) held via videoconference on 6/24/2022. Defendant
                           Rhodes (1) was arraigned on Count 7 of the 167 Superseding Indictment and
                           entered a plea of Not Guilty. With the consent of the parties, pleas of Not Guilty
                           were entered by defendants Rhodes (1), Meggs (2), Harrelson (3), Watkins (4),
                           Minuta (6), Hackett (7), Moerschel (8), Caldwell (10), and Vallejo (11) as to all
                           counts of the 167 Superseding Indictment. Supplemental Rule 12 Motions due by
                           7/8/2022. Status Conference set for 8/2/2022 at 11:00 AM via videoconference
                           before Judge Amit P. Mehta. Members of the public may access the conference by
                           dialing the court's toll-free public access line: (877) 848-7030, access code 321-
                           8747. Bond Status of Defendants: Rhodes (1) remains in-custody, Meggs (2)
                           remains in-custody, Harrelson (3) remains in-custody, Watkins (4) remains in-
                           custody; appearance waived, Minuta (6) remains on PR/HISP, Hackett (7) remains
                           on PR/HISP, Moerschel (8) remains on PR/HISP, Caldwell (10) remains on
                           PR/HISP; appearance waived, Vallejo (11) remains on PR/HISP. Court Reporter:
                           William Zaremba; Defense Attorneys: Phillip Linder (1), Lee Bright (1), Stanley
                           Woodward (2), Juli Haller (2), Bradford Geyer (3), Jonathan Crisp (4), William
                           Shipley (6), Angela Halim (7), Scott Weinberg (8), David Fischer (10), and Matthew
                           Peed (11); US Attorneys: Jeffrey Nestler and Kathryn Rakoczy. (zjd) (Entered:
                           06/28/2022)
06/28/2022           176 MEMORANDUM OPINION AND ORDER denying 82 Motion to Dismiss Count
                         1; 84 Motion to Dismiss Counts 1, 2, 3, and 4; 89 Motion to Dismiss Counts 1, 2, 3,
                         and 4; 90 Motion to Dismiss Count 14; 91 Motion to Sever Count 14; 93 Motion for
                         Change of Venue; 94 Motion to Dismiss Count 1; 94 Motion to Strike Surplusage.
                         See the attached MEMORANDUM OPINION AND ORDER for additional details.
                         Signed by Judge Amit P. Mehta on 6/28/2022. (lcapm1) (Main Document 176
                         replaced on 6/30/2022) (zjd). (Entered: 06/28/2022)
06/29/2022           178 TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                         ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                         JESSICA WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                         VALLEJO before Judge Amit P. Mehta held on April 8, 2022; Page Numbers: 1-
                         107. Date of Issuance: June 29, 2022. Court Reporter/Transcriber: William
                         Zaremba; Telephone number: (202) 354-3249. Transcripts may be ordered by
                         submitting the Transcript Order Form

                           For the first 90 days after this filing date, the transcript may be viewed at the
                           courthouse at a public terminal or purchased from the court reporter referenced
                           above. After 90 days, the transcript m ay be accessed via PACER. Other transcript
             Case 1:22-cr-00015-APM Document 671 Filed 07/14/23 Page 17 of 49
                          formats, (multi-page, condensed, PDF or ASCII) may be purchased from the court
                          reporter.

                          NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one
                          days to file with the court and the court reporter any request to redact personal
                          identifiers from this transcript. If no such requests are filed, the transcript will be
                          made available to the public via PACER without redaction after 90 days. The policy,
                          which includes the five personal identifiers specifically covered, is located on our
                          website at www.dcd.uscourts.gov.

                          Redaction Request due 7/20/2022. Redacted Transcript Deadline set for 7/30/2022.
                          Release of Transcript Restriction set for 9/27/2022.(wz) (Entered: 06/29/2022)
06/30/2022                MINUTE ORDER denying 177 Motion to Strike. The court is not aware of any
                          basis under the Federal Rules of Criminal Procedure that would enable it to "strike"
                          a filing made on the public record, even one that is not authorized by a defendant or
                          his counsel. Cf. Fed. R. Civ. P. 12(f) (permitting the court to "strike from a
                          pleading... any redundant, immaterial, impertinent, or scandalous matter"). That
                          said, the court recognizes that Mr. Moseley's filing was not made with the consent
                          of Mr. Meggs, his new counsel, or any other counsel in this case. The court
                          therefore will not consider anything that Mr. Moseley has represented or argued in
                          connection with the court's consideration of the D.C. Rule of Professional Conduct
                          1.8(e) issue. Additionally, the court warns Mr. Moseley that he is no longer counsel
                          of record in this matter for any defendant. If he again makes a filing in this case
                          without either the consent of a represented defendant or this court, the court will not
                          hesitate to impose appropriate sanctions. Signed by Judge Amit P. Mehta on
                          6/30/2022. (lcapm1) (Entered: 06/30/2022)
07/07/2022                MINUTE ORDER granting 184 Unopposed Motion for Extension of Time to File
                          Supplemental Rule 12 Motions. Defendants shall file their Supplemental Rule 12
                          Motions on or before July 11, 2022. Signed by Judge Amit P. Mehta on 7/6/2022.
                          (lcapm1) (Entered: 07/07/2022)
07/08/2022           186 Memorandum in Opposition by USA as to KELLY MEGGS, KENNETH
                         HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA, DAVID
                         MOERSCHEL, THOMAS EDWARD CALDWELL re 170 MOTION to Dismiss
                         Case (Superseding Indictment) (Nestler, Jeffrey) (Entered: 07/08/2022)
07/08/2022           187 NOTICE of Government's Motion Regarding Anticipated Trial Evidence and Notice
                         Pursuant to Federal Rule of Evidence 404(b) by USA as to ELMER STEWART
                         RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                         JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                         VALLEJO (Edwards, Troy) (Entered: 07/08/2022)
07/08/2022           190 MOTION for 404(b) Evidence by USA as to ELMER STEWART RHODES, III,
                         KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, JOSHUA
                         JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL,
                         BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (See
                         docket entry 187 to view document.)(zltp) (Entered: 07/12/2022)
07/14/2022           192 ORDER granting 191 Motion to Modify Conditions of Release as to THOMAS
                         EDWARD CALDWELL (10). See the attached Order for additional details. Signed
                         by Judge Amit P. Mehta on 7/13/2022. (lcapm1) (Entered: 07/14/2022)
07/21/2022                MINUTE ORDER granting 197 Consent Motion for Extension of Time to File
                          Response/Reply to the Government's 190 Rule 404(b) motion as to KELLY
             Case 1:22-cr-00015-APM Document 671 Filed 07/14/23 Page 18 of 49
                          MEGGS (2). Defendants shall file their response on or before July 29, 2022. Signed
                          by Judge Amit P. Mehta on 7/21/2022. (lcapm1) (Entered: 07/21/2022)
07/22/2022           198 MOTION to Continue Trial - Redacted by KELLY MEGGS as to ELMER
                         STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                         WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT,
                         DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL,
                         EDWARD VALLEJO. (Attachments: # 1 Text of Proposed Order)(Woodward,
                         Stanley) (Entered: 07/22/2022)
07/29/2022           213 MOTION in Limine TO PRECLUDE CERTAIN DEFENSE ARGUMENTS AT
                         TRIAL by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                         KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                         MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                         THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (Rakoczy, Kathryn)
                         (Entered: 07/29/2022)
07/29/2022           214 MOTION in Limine TO PRECLUDE CERTAIN UNTIMELY AND IRRELEVANT
                         TESTIMONY by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                         KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                         MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                         THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (Rakoczy, Kathryn)
                         (Entered: 07/29/2022)
07/29/2022           215 MOTION in Limine REGARDING CROSS-EXAMINATION OF U.S. SECRET
                         SERVICE WITNESS by USA as to ELMER STEWART RHODES, III, KELLY
                         MEGGS, KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES,
                         ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN
                         ULRICH, THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (Rakoczy,
                         Kathryn) (Entered: 07/29/2022)
07/29/2022           232 Memorandum in Opposition by KELLY MEGGS re 187 and 190 Notice and Motion
                         for 404(b) Evidence. (See docket entry 219 to view document.)(zltp) (Entered:
                         08/02/2022)
08/01/2022           225 MOTION for Joinder and Attachments by KENNETH HARRELSON re: 193 Joint
                         MOTION to Change Venue Or Continue Trial Date, 194 MOTION to Change
                         Venue, MOTION to Continue, MOTION for Joinder, 195 MOTION to Continue
                         Trial Date and Exclude Time under Speedy Trial Act (Attachments: # 1 Supplement,
                         # 2 Supplement, # 3 Supplement)(Geyer, Bradford) Modified text to include linkage
                         and event type on 8/2/2022 (zltp). (Entered: 08/01/2022)
08/01/2022           226 TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                         ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                         JESSICA WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                         Judge Amit P. Mehta held on June 24, 2022; Page Numbers: 1-74. Date of Issuance:
                         August 1, 2022. Court Reporter/Transcriber: William Zaremba; Telephone number:
                         (202) 354-3249, Transcripts may be ordered by submitting the Transcript Order
                         Form

                           For the first 90 days after this filing date, the transcript may be viewed at the
                           courthouse at a public terminal or purchased from the court reporter referenced
                           above. After 90 days, the transcript may be accessed via PACER. Other transcript
                           formats, (multi-page, condensed, PDF or ASCII) may be purchased from the court
                           reporter.
             Case 1:22-cr-00015-APM Document 671 Filed 07/14/23 Page 19 of 49
                          NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one
                          days to file with the court and the court reporter any request to redact personal
                          identifiers from this transcript. If no such requests are filed, the transcript will be
                          made available to the public via PACER without redaction after 90 days. The policy,
                          which includes the five personal identifiers specifically covered, is located on our
                          website at www.dcd.uscourts.gov.

                            Redaction Request due 8/22/2022. Redacted Transcript Deadline set for 9/1/2022.
                            Release of Transcript Restriction set for 10/30/2022.(wz) (Entered: 08/01/2022)
08/02/2022           235 MOTION for Order to Unseal for Limited Purpose of Creating a Transcript by USA
                         as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                         HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                         JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                         EDWARD CALDWELL, EDWARD VALLEJO. (Nestler, Jeffrey) (Entered:
                         08/02/2022)
08/02/2022           237 ORDER granting 235 Motion for Order to Unseal for Limited Purpose of Creating a
                         Transcript. See the attached Order for additional details. Signed by Judge Amit P.
                         Mehta on 8/2/2022. (lcapm1) (Entered: 08/02/2022)
08/02/2022           238 MEMORANDUM OPINION AND ORDER denying Defendants' 170 Motion to
                         Dismiss the Superseding Indictment; Defendant KELLY MEGGS's (2) 188 Motion
                         to Dismiss Counts 1-3 and 5; and Defendant KELLY MEGGS's (2) 189 Motion to
                         Dismiss on the Basis of Selective Prosecution. See the attached Memorandum
                         Opinion and Order for additional details. Signed by Judge Amit P. Mehta on
                         8/2/2022. (lcapm1) (Entered: 08/02/2022)
08/02/2022                  Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                            as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                            HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                            HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                            (10), and EDWARD VALLEJO (11) held on 8/2/2022. For the reasons stated on the
                            record, the court denies Defendants' 193 , 195 Joint Motion to Change Venue or
                            Continue Trial Date; Defendant ELMER STEWART RHODES, III's 194 , 201
                            Motion and Amended Motion to Change Venue; Defendant KELLY MEGGS's 198 ,
                            200 Motion to Continue Trial; and Defendant KENNETH HARRELSON's 225
                            Motion to Change Venue or Continue Trial Dates. Government's In-Camera
                            Submission due by 8/5/2022. Status Conferences tentatively set for either 8/22/2022
                            at 1:00 PM or 8/23/2022 at 02:00 PM before Judge Amit P. Mehta. The status
                            conference date will be set via notice of hearing. Members of the public or media
                            may also access the hearing via teleconference by dialing the court's toll-free public
                            access line: (877) 848-7030, access code 321-8747. Bond Status of Defendants:
                            Bond Status of Defendants: Rhodes (1) remains in-custody, Meggs (2) remains in-
                            custody, Harrelson (3) remains in-custody, Watkins (4) remains in-custody, Minuta
                            (6) remains on PR/HISP, Hackett (7) remains on PR/HISP; appearance waived,
                            Moerschel (8) remains on PR/HISP, Caldwell (10) remains on PR/HISP, Vallejo (11)
                            remains on PR/HISP. Court Reporter: William Zaremba; Defense Attorneys: Phillip
                            Linder (1), Lee Bright (1), Stanley Woodward (2), Juli Haller (2), Bradford Geyer
                            (3), David Fischer for Jonathan Crisp (4), William Shipley (6), Angela Halim (7),
                            Scott Weinberg (8), David Fischer (10), and Matthew Peed (11); US Attorneys:
                            Kathryn Rakoczy and Jeffrey Nestler. (zjd) (Entered: 08/04/2022)
08/04/2022           239 MOTION for Extension of Deadline for Responding to Rule 404(b) Oppositions by
                         USA as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                         HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
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                          JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                          EDWARD CALDWELL, EDWARD VALLEJO. (Edwards, Troy) Modified text and
                          event type on 8/5/2022 (zltp). (Entered: 08/04/2022)
08/04/2022               MINUTE ORDER granting United States' 239 Motion for Extension of Time. The
                         United States shall file its reply to Defendants' Opposition 217 , 218 , 219 to the
                         United States' 187 Rule 404(b) Notice on or before August 12, 2022. Signed by
                         Judge Amit P. Mehta on 8/5/2022. (lcapm1) (Entered: 08/05/2022)
08/11/2022               ***HSD has been filed with the Court. (zjd) (Entered: 08/11/2022)
08/12/2022          247 TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to
                        ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                        JESSICA WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                        MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                        Judge Amit P. Mehta held on August 2, 2022; Page Numbers: 1-147. Date of
                        Issuance: August 12, 2022. Court Reporter/Transcriber: William Zaremba;
                        Telephone number: (202) 354-3249. Transcripts may be ordered by submitting the
                        Transcript Order Form

                         For the first 90 days after this filing date, the transcript may be viewed at the
                         courthouse at a public terminal or purchased from the court reporter referenced
                         above. After 90 days, the transcript may be acces sed via PACER. Other transcript
                         formats, (multi-page, PDF or ASCII) may be purchased from the court reporter.

                         NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one
                         days to file with the court and the court reporter any request to redact personal
                         identifiers from this transcript. If no such requests are filed, the transcript will be
                         made available to the public via PACER without redaction after 90 days. The policy,
                         which includes the five personal identifiers specifically covered, is located on our
                         website at www.dcd.uscourts.gov.

                         Redaction Request due 9/2/2022. Redacted Transcript Deadline set for 9/12/2022.
                         Release of Transcript Restriction set for 11/10/2022.(wz) (Entered: 08/12/2022)
08/12/2022          249 REPLY in Support by USA as to ELMER STEWART RHODES, III, KELLY
                        MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                        MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                        CALDWELL, EDWARD VALLEJO re 214 MOTION in Limine TO PRECLUDE
                        CERTAIN UNTIMELY AND IRRELEVANT TESTIMONY (Rakoczy, Kathryn)
                        Modified text to remove unassociated defendants on 8/30/2022 (zltp). (Entered:
                        08/12/2022)
08/12/2022          250 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                        KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                        MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                        CALDWELL, EDWARD VALLEJO re 218 Motion to Exclude (Rakoczy, Kathryn)
                        Modified text to remove unassociated defendants on 8/30/2022 (zltp). (Entered:
                        08/12/2022)
08/12/2022          251 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                        KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                        MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                        CALDWELL, EDWARD VALLEJO re 219 Motion in Limine 216 Response to
                        404(b) Notice, and 217 Response to 404(b) Notice (Rakoczy, Kathryn) Modified
                        text to remove unassociated defendants on 8/30/2022 (zltp). (Entered: 08/12/2022)
             Case 1:22-cr-00015-APM      Document 671        Filed 07/14/23     Page 21 of 49
08/12/2022         252 MOTION to Exclude Defense Expert Testimony by USA as to ELMER STEWART
                       RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                       JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                       MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                       VALLEJO. (Rakoczy, Kathryn) Modified text to remove unassociated defendants on
                       8/30/2022 (zltp). (Entered: 08/12/2022)
08/19/2022         260 REPLY in Support by USA as to ELMER STEWART RHODES, III, KELLY
                       MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO re 215 MOTION in Limine REGARDING
                       CROSS-EXAMINATION OF U.S. SECRET SERVICE WITNESS, 214 MOTION in
                       Limine TO PRECLUDE CERTAIN UNTIMELY AND IRRELEVANT TESTIMONY,
                       213 MOTION in Limine TO PRECLUDE CERTAIN DEFENSE ARGUMENTS AT
                       TRIAL (Manzo, Louis) Modified text to remove unassociated defendants on
                       9/1/2022 (zltp). (Entered: 08/19/2022)
08/22/2022         271 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                       KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO re 259 Motion to Sever Defendant, Kenneth
                       Harrelson (Edwards, Troy) Modified text to remove unassociated defendants on
                       9/1/2022 (zltp). (Entered: 08/22/2022)
08/23/2022         272 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                       KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO re 266 Motion for Release of Brady Materials,
                       By Kenneth Harrelson (Edwards, Troy) Modified text to remove unassociated
                       defendants on 9/1/2022 (zltp). (Entered: 08/23/2022)
08/23/2022         273 Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                       KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO re 269 Motion in Limine By Kenneth
                       Harrelson (Edwards, Troy) Modified text to remove unassociated defendants on
                       9/1/2022 (zltp). (Entered: 08/23/2022)
08/23/2022               Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                         as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                         HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                         HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                         (10), and EDWARD VALLEJO (11) held on 8/23/2022. Hearing on Motions in
                         Limine set for 8/30/2022 at 1:30 PM in Courtroom 10 before Judge Amit P. Mehta.
                         Bond Status of Defendants: Rhodes (1) remains in-custody, Meggs (2) remains in-
                         custody, Harrelson (3) remains in-custody, Watkins (4) remains in-custody, Minuta
                         (6) remains on PR/HISP; appearance waived, Hackett (7) remains on PR/HISP,
                         Moerschel (8) remains on PR/HISP, Caldwell (10) remains on PR/HISP, Vallejo (11)
                         remains on PR/HISP; Court Reporter: William Zaremba; Defense Attorneys: Phillip
                         Linder (1), James Bright (1), Stanley Woodward (2), Juli Haller (2), Bradford Geyer
                         (3), Jonathan Crisp (4), William Shipley (6), Angela Halim (7), David Fischer and
                         Connor Martin for Scott Weinberg (8), David Fischer (10) and Matthew Peed (11);
                         US Attorneys: Kathryn Rakoczy and Jeffrey Nestler. (zjd) (Entered: 08/24/2022)
08/30/2022         286 AMENDED PRETRIAL ORDER. The court's previous 133 Pretrial Order will
                       govern all dates in this matter except the following with respect to the September
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                          Trial Group: (1) the Pretrial Statement is now due on September 9, 2022; (2) a
                          second day of Pretrial Conference will follow on September 15, 2022, at 9:30 a.m.;
                          (3) trial is now set to commence on September 27, 2022, at 9:30 a.m.; and (4) the
                          court will not sit on October 5 or 10, 2022. See the attached Order for additional
                          details. Signed by Judge Amit P. Mehta on 8/30/2022. (lcapm1) (Entered:
                          08/30/2022)
08/30/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Hearing on Motions
                           in Limine as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2),
                           KENNETH HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA
                           (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD
                           CALDWELL (10), EDWARD VALLEJO (11) held on 8/30/2022. Bond Status of
                           Defendants: Rhodes (1) remains in-custody, Meggs (2) remains in-custody,
                           Harrelson (3) remains in-custody, Watkins (4) remains in-custody, Minuta (6)
                           remains on PR/HISP, Hackett (7) remains on PR/HISP; appearance waived,
                           Moerschel (8) remains on personal recognizance; appearance waived, Caldwell (10)
                           remains on PR/HISP; Vallejo (11) remains on PR/HISP. Court Reporter: William
                           Zaremba; Defense Attorneys: James Lee Bright (1), Stanley Woodward (2), Juli
                           Haller (2) Bradford Geyer (3), David Fischer for Jonathan Crisp (4), David Fischer
                           for William Shipley (6), Angie Halim (7), Scott Weinberg (8), David Fischer (10),
                           Matthew Peed (11); US Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Troy Edwards,
                           Louis Manzo, Alexandra Hughes, and Justin Sher. (zjd) (Entered: 08/31/2022)
09/06/2022           288 OMNIBUS ORDER re: certain motions in limine. The court orders the following:
                         (1) the United States' 190 Motion for 404(b) Evidence is granted in part and denied
                         in part; (2) Defendant KELLY MEGGS's (2) 219 Motion to Bar the Introduction of
                         Certain of that Evidence is denied; (3) the United States' 213 Motion in Limine to
                         Preclude Certain Defense Arguments at Trial is granted; (4) the United States' 214
                         Motion in Limine to Preclude Certain Untimely and Irrelevant Testimony is granted
                         in part and denied in part; (5) the United States' 215 Motion in Limine Regarding
                         Cross-Examination of U.S. Secret Service Witness is granted; (6) the court defers
                         ruling on Defendant EDWARD VALLEJO's (11) 218 Motion in Limine to Exclude
                         Expert Testimony of Dr. Sam Jackson, Ph.D.; (7) Defendant KELLY MEGGS's (2)
                         221 Join Motion in Limine is denied; and (8) the court defers ruling on the
                         government's 252 Motion to Exclude Defense Expert Testimony Due to Insufficient
                         Notice. The court stated its reasons for these rulings on the record at the hearing
                         held on August 30, 2022. See the attached Order for additional details. Signed by
                         Judge Amit P. Mehta on 9/6/2022. (lcapm1) (Entered: 09/06/2022)
09/06/2022                 MINUTE ORDER. The United States and Defendant ELMER STEWART
                           RHODES, III's (1) counsel of record, separately, may file a response to the 290
                           Motion to Substitute Counsel and Continue Trial by September 7, 2022, at 2:00 p.m.
                           Signed by Judge Amit P. Mehta on 9/6/2022. (lcapm1) (Entered: 09/06/2022)
09/09/2022           298 TRANSCRIPT OF MOTIONS HEARING PROCEEDINGS in case as to ELMER
                         STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                         WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                         Judge Amit P. Mehta held on August 30, 2022; Page Numbers: 1-170. Date of
                         Issuance: September 9, 2022. Court Reporter/Transcriber: William Zaremba;
                         Telephone number: (202) 354-3249. Transcripts may be ordered by submitting the
                         Transcript Order Form

                           For the first 90 days after this filing date, the transcript may be viewed at the
                           courthouse at a public terminal or purchased from the court reporter referenced
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                          above. After 90 days, the transcript may be acce ssed via PACER. Other transcript
                          formats, (multi-page, PDF or ASCII) may be purchased from the court reporter.

                           NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one
                           days to file with the court and the court reporter any request to redact personal
                           identifiers from this transcript. If no such requests are filed, the transcript will be
                           made available to the public via PACER without redaction after 90 days. The policy,
                           which includes the five personal identifiers specifically covered, is located on our
                           website at www.dcd.uscourts.gov.

                           Redaction Request due 9/30/2022. Redacted Transcript Deadline set for 10/10/2022.
                           Release of Transcript Restriction set for 12/8/2022.(wz) (Entered: 09/09/2022)
09/11/2022                 MINUTE ORDER granting 296 Sealed Motion for Leave to File Document Under
                           Seal (This document is SEALED and only available to authorized persons.) as to
                           KELLY MEGGS (2). Signed by Judge Amit P. Mehta on 9/11/2022. (lcapm1)
                           (Entered: 09/11/2022)
09/15/2022           318 ORDER. Any defendant who intends to assert an advice-of-counsel defense as to
                         any count of the Indictment shall make such disclosure to the government by
                         September 21, 2022. Failure to provide the notice required by this Order may lead
                         the court to preclude a defendant from asserting such a defense. See the attached
                         Order for additional details. Signed by Judge Amit P. Mehta on 9/15/2022. (lcapm1)
                         (Entered: 09/15/2022)
09/15/2022           319 ORDER. This Omnibus Order memorializes what transpired during the Pretrial
                         Conference on September 14, 2022. The court denies Defendant KELLY MEGGS's
                         (2) Omnibus Motion to Compel Discovery, ECF No. 287-2 (sealed); 290 (redacted).
                         The court defers ruling on each of the following: (1) Defendant ELMER STEWART
                         RHODES, III's (1) 308 Motion to Suppress Any Recording or Transcript of
                         November 9, 2022, "GoToMeeting" Conversation; (2) Defendant THOMAS
                         CALDWELL's (10) 299 Motion in Limine to Allow into Evidence Certain
                         Inconsistent Statements Made by the Government; and (3) Defendants Meggs,
                         Rhodes, KENNETH HARRELSON (3), and JESSICA WATKINS's (4) 280 Joint
                         Motion in Limine to Bar Zello Communications. Additionally, the court orders the
                         following with respect to further proceedings in this matter: (1) the parties shall
                         submit to the court by September 21, 2022, at 5:00 p.m. a list of (a) the prospective
                         jurors that they agree should be stricken for cause and (b) the jurors as to which
                         there remains a dispute about striking for cause. The filing should identify the juror
                         only by their juror number; (2) Defendants shall submit a legal memorandum
                         addressing their reliance on the Insurrection Act as part of their defense by
                         September 19, 2022; (4) the United States shall file its response by September 21,
                         2022; and (5) the parties shall appear for a continued pretrial conference on
                         September 22, 2022, at 9:30 a.m. See the attached Order for additional details.
                         Signed by Judge Amit P. Mehta on 9/15/2022. (lcapm1) (Entered: 09/15/2022)
09/20/2022           327 ORDER. Trial is set to commence in this matter as to the September Trial Group on
                         September 27, 2022. The attached Order sets forth various schedule, location,
                         seating, access, media, masking, and other logistics. See the attached Order for
                         additional details. Signed by Judge Amit P. Mehta on 9/20/2022. (lcapm1) (Entered:
                         09/20/2022)
09/21/2022           330 FINAL JUROR QUESTIONNAIRE. The court included Question 30 over
                         Defendants' objections. See the attached Juror Questionnaire for additional details.
                         (lcapm1) (Entered: 09/21/2022)
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09/21/2022         332 MOTION FOR A PROTECTIVE ORDER PERTAINING TO THE TRIAL
                       TESTIMONY OF CONFIDENTIAL HUMAN SOURCES by USA as to ELMER
                       STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                       WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                       MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO.
                       (Attachments: # 1 Text of Proposed Order)(Rakoczy, Kathryn) Modified event type
                       and text to remove unassociated defendants on 9/28/2022 (zltp). (Entered:
                       09/21/2022)
09/23/2022         338 ORDER granting the government's ex parte Motion to Withhold from Discovery
                       Certain Materials That are Not Otherwise Relevant or Discloseable. The
                       government is authorized to withhold from discovery to the defense the information
                       outlined in the government's filing. See the attached Order for additional details.
                       Signed by Judge Amit P. Mehta on 9/23/2022. (lcapm1) (Entered: 09/23/2022)
09/30/2022              MINUTE ORDER denying Defendant ELMER STEWART RHODES III's (1) 325
                        Motion for Disclosure of Brady Exculpatory Information and Issuance of
                        Subpoenas Duces Tecum Concerning Witnesses to be Called by the Prosecution and
                        granting in part and denying in part Defendant KELLY MEGGS's (2) 353 Motion to
                        Join and Adopt and Motion for Discovery. Defendants' motions for Rule 17(c)
                        subpoenas are denied for the reasons stated on the record at yesterday's proceedings.
                        Defendant KELLY MEGGS's (2) motion to join is granted. Signed by Judge Amit P.
                        Mehta on 9/30/2022. (lcapm1) (Entered: 09/30/2022)
09/30/2022         358 ORDER denying Defendants' Joint 340 Motion for Reconsideration. See the
                       attached Order for additional details. Signed by Judge Amit P. Mehta on 9/30/2022.
                       (lcapm1) (Entered: 09/30/2022)
10/02/2022         363 Second MOTION in Limine Regarding Hand Grenades by KENNETH
                       HARRELSON as to ELMER STEWART RHODES, III, KELLY MEGGS,
                       KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                       THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (Attachments: # 1
                       Exhibit DNA test)(Geyer, Bradford) (Entered: 10/02/2022)
10/05/2022         366 Unopposed MOTION for Extension of Time to Provide Supplemental 404(b) Notice
                       by USA as to ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                       MOERSCHEL, EDWARD VALLEJO. (Edwards, Troy) (Entered: 10/05/2022)
10/06/2022              MINUTE ORDER granting Government's Unopposed 366 Motion for Extension of
                        Time to Provide Supplemental 404(b) Notice as to Defendants ROBERTO A.
                        MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), and EDWARD
                        VALLEJO (11). The government shall supplement its Rule 404(b) Notice for the
                        November Trial Group by October 17, 2022. Signed by Judge Amit P. Mehta on
                        10/6/2022. (lcapm1) (Entered: 10/06/2022)
10/13/2022         372 ORDER granting 371 Consent Motion to Modify Conditions of Release as to
                       JOSHUA JAMES (5). See the attached Order for additional details. Signed by Judge
                       Amit P. Mehta on 10/13/2022. (lcapm1) (Entered: 10/13/2022)
10/17/2022         374 NOTICE of Government's Motion Regarding Supplemental Trial Evidence and
                       Notice Pursuant to Federal Rule of Evidence 404(b) by USA as to ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, EDWARD VALLEJO re
                       187 Notice (Other), (Edwards, Troy) (Entered: 10/17/2022)
10/25/2022              NOTICE OF HEARING as to ROBERTO A. MINUTA (6), JOSEPH HACKETT
                        (7), DAVID MOERSCHEL (8), and EDWARD VALLEJO (11): Status Conference
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                          set for 10/26/2022 at 9:00 AM via videoconference before Judge Amit P. Mehta.
                          Members of the public may access the conference by dialing the court's toll-free
                          public access line: (877) 848-7030, access code 321-8747. (zjd) (Entered:
                          10/25/2022)
10/26/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                           as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL
                           (8), and EDWARD VALLEJO (11) held via videoconference on 10/26/2022. Pretrial
                           Conference reset to 11/23/2022 at 9:30 AM in Courtroom 23 before Judge Amit P.
                           Mehta. Jury Trial reset to 12/5/2022 at 09:30 AM in Courtroom 10 before Judge
                           Amit P. Mehta. Bond Status of Defendant: all remain on personal recognizance;
                           Court Reporter: William Zaremba; Defense Attorneys: William Shipley (6), Angela
                           Halim (7), Scott Weinberg (8), Connor Martin (8), and Matthew Peed (11); US
                           Attorney: Troy Edwards. (zjd) (Entered: 11/13/2022)
10/28/2022           377 ORDER as to defendants ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                         MOERSCHEL, and EDWARD VALLEJO. The court's 286 Amended Pretrial Order
                         is hereby modified as follows: (1) Trial will now commence on December 5, 2022,
                         at 9:30 a.m. The court will not sit on December 26--30, 2022; (2) Motions in limine
                         shall be filed by November 7, 2022; (3) oppositions shall be filed November 16,
                         2022; and (4) replies shall be filed by November 21, 2022. (5) The government shall
                         make any remaining Jencks/Brady disclosures by November 18, 2022; (6) Counsel
                         shall appear for a status conference to finalize the jury questionnaire on November
                         7, 2022, at 5:15 p.m. (7) Prospective jurors for the December trial will appear on
                         November 10, 2022, to answer the final questionnaire. (8) After prospective jurors
                         answer the questionnaire, the parties shall file under seal their respective lists of
                         jurors they believe should be stricken for cause by November 17, 2022. Jurors shall
                         be identified only by juror number. (9) Counsel shall then appear on November 21,
                         2022, at 2:00 p.m. to discuss those lists and for the court to make final rulings. (10)
                         The Joint Pretrial Statement as to the December Trial Group shall be due November
                         18, 2022. (11) The Pretrial Conference for the December Trial Group shall be held
                         on November 23, 2022, at 9:30 a.m., in Courtroom 10. See the attached Order for
                         additional details. Signed by Judge Amit P. Mehta on 10/28/2022. (lcapm1)
                         (Entered: 10/28/2022)
11/07/2022           386 MOTION in Limine WITNESS NARRATION OF VIDEO AND DOCUMENTARY
                         EVIDENCE by ROBERTO A. MINUTA. (Shipley, William) (Entered: 11/07/2022)
11/07/2022           388 MOTION in Limine TO EXCLUDE 404(B) EVIDENCE by ROBERTO A.
                         MINUTA. (Shipley, William) (Entered: 11/07/2022)
11/07/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                           as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL
                           (8), and EDWARD VALLEJO (11) held on 11/7/2022. Bond Status of Defendants:
                           remain on personal recognizance; Court Reporter: William Zaremba; Defense
                           Attorneys: William Shipley (6), Angela Halim (7), Scott Weinberg (8), Connor
                           Martin (8), Matthew Peed (11); US Attorneys: Troy Edwards and Jeffrey Nestler.
                           (zjd) (Entered: 12/11/2022)
11/16/2022           392 Memorandum in Opposition by USA as to ROBERTO A. MINUTA, JOSEPH
                         HACKETT, DAVID MOERSCHEL, EDWARD VALLEJO re 387 Motion in
                         Limine, 386 Motion in Limine, 388 Motion in Limine (Edwards, Troy) (Entered:
                         11/16/2022)
11/18/2022           396 FINAL JURY INSTRUCTIONS as to Defendants ELMER STEWART RHODES,
                         III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, and
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                          THOMAS EDWARD CALDWELL. (lcapm1) (Entered: 11/18/2022)
11/22/2022              NOTICE OF HEARING as to ROBERTO A. MINUTA (6), JOSEPH HACKETT
                        (7), DAVID MOERSCHEL (8), and EDWARD VALLEJO (11): The Pretrial
                        Conference set for 11/23/2022 at 9:30 AM before Judge Amit P. Mehta will proceed
                        in Courtroom 10. (zjd) (Entered: 11/22/2022)
11/22/2022         402 WITNESS LIST by ROBERTO A. MINUTA (Shipley, William) (Entered:
                       11/22/2022)
11/23/2022         403 EXHIBIT LIST by ROBERTO A. MINUTA (Shipley, William) (Entered:
                       11/23/2022)
12/01/2022              MINUTE ORDER as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7),
                        DAVID MOERSCHEL (8), and EDWARD VALLEJO (11). Trial for the second
                        group of defendants shall begin with jury selection no sooner than Tuesday,
                        December 6, 2022. Signed by Judge Amit P. Mehta on 12/1/2022. (zjd) (Entered:
                        12/01/2022)
12/01/2022         413 Supplemental Brief In Support of Co-Defendant Hackett's 387 Motion In Limine
                       Regarding "Montage" Exhibits. by ROBERTO A. MINUTA. (Shipley, William)
                       Modified text to remove "motion" and include link on 1/6/2023 (zltp). (Entered:
                       12/01/2022)
12/02/2022         415 Application for Access to Trial Exhibits by PRESS COALITION as to ELMER
                       STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                       WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT,
                       DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL,
                       EDWARD VALLEJO. (zltp) (Entered: 12/05/2022)
12/05/2022              NOTICE OF HEARING as to ROBERTO A. MINUTA (6), JOSEPH HACKETT
                        (7), DAVID MOERSCHEL (8), and EDWARD VALLEJO (11): Jury Selection shall
                        proceed on 12/6/2022 at 11:00 AM in Courtroom 10 before Judge Amit P. Mehta.
                        (zjd) (Entered: 12/05/2022)
12/06/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Selection as to
                        ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8),
                        and EDWARD VALLEJO (11) began and held on 12/6/2022. Jury Selection shall
                        resume on 12/7/2022 at 9:30 AM in Courtroom 10 before Judge Amit P. Mehta.
                        Bond Status of Defendants: all defendants remain on personal recognizance;
                        Defense Attorneys: William Shipley (6), Angela Halim (7), Scott Weinberg (8),
                        Connor Martin (8), Matthew Peed (11); US Attorneys: Kathryn Rakoczy, Jeffrey
                        Nestler, Alexandra Hughes, Troy Edwards, and Louis Manzo. (zjd) (Entered:
                        12/06/2022)
12/07/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Selection as to
                        ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8),
                        and EDWARD VALLEJO (11) held on 12/7/2022. Jury Selection shall resume on
                        12/8/2022 at 9:15 AM in Courtroom 10 before Judge Amit P. Mehta. Bond Status of
                        Defendants: all defendants remain on personal recognizance; Defense Attorneys:
                        William Shipley (6), Angela Halim (7), Scott Weinberg (8), Connor Martin (8),
                        Matthew Peed (11); US Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Alexandra
                        Hughes, Troy Edwards, and Louis Manzo. (zjd) (Entered: 12/07/2022)
12/08/2022         418 MOTION in Limine FOR DISCOVERY OF GOVERNMENTS INFORMATION ON
                       PROSPECTIVE JURORS by ROBERTO A. MINUTA. (Shipley, William) (Entered:
                       12/08/2022)
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12/08/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Selection as to
                        ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8),
                        and EDWARD VALLEJO (11) held on 12/8/2022. Jury Selection set for 12/9/2022,
                        at 9:30 AM, in Courtroom 10, before Judge Amit P. Mehta. Bond Status of
                        Defendants: all defendants remain on personal recognizance; Court Reporters:
                        William Zaremba (AM) and Melanie WIlkens (PM); Defense Attorneys: William
                        Shipley (6), Angela Halim (7), Scott Weinberg (8), Connor Martin (8), Matthew
                        Peed (11); U.S. Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Alexandra Hughes,
                        Troy Edwards, and Louis Manzo. (zjd) (Entered: 12/08/2022)
12/09/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Selection as to
                        ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, EDWARD
                        VALLEJO held on 12/9/2022. A panel of twelve (12) jurors and four (4) alternate
                        jurors was selected but not sworn. Jury Trial/Opening Arguments set for 12/12/2022
                        at 9:30 AM in Courtroom 10 before Judge Amit P. Mehta. Bond Status of
                        Defendants: all defendants remain on personal recognizance; Court Reporter:
                        William Zaremba; Defense Attorneys: William Shipley (6), Angela Halim (7), Scott
                        Weinberg (8), Connor Martin (8), Matthew Peed (11); US Attorneys: Kathryn
                        Rakoczy, Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and Louis Manzo. (zjd)
                        (Entered: 12/11/2022)
12/11/2022              MINUTE ORDER. At the parties' request, the schedule for post-trial briefing shall
                        be as follows: The defendants' combined Rule 33 and supplemental Rule 29 motion
                        is due on or before December 23, 2022. The government's opposition shall be filed
                        on or before January 13, 2023. Defendants' reply shall be due on or before January
                        20, 2023. Signed by Judge Amit P. Mehta on 12/11/2022. (lcapm3) (Entered:
                        12/11/2022)
12/11/2022         421 MOTION in Limine TO PRECLUDE ADMISSION UNDER RULE 801(D)(2)(E)
                       OF STATEMENTS BY NORTH CAROLINA OATH KEEPERS AFTER NOVEMBER
                       15, 2020 by ROBERTO A. MINUTA. (Shipley, William) (Entered: 12/11/2022)
12/11/2022         422 MOTION in Limine TO PRECLUDE ADMISSION UNDER RULE 801(D)(2)(E)
                       OF STATEMENTS BY THOMAS CALDWELL by ROBERTO A. MINUTA.
                       (Shipley, William) (Entered: 12/11/2022)
12/12/2022              NOTICE OF HEARING as to ROBERTO A. MINUTA (6), JOSEPH HACKETT
                        (7), DAVID MOERSCHEL (8), EDWARD VALLEJO (11): Jury Trial/Opening
                        Statements shall now begin at 12/12/2022 at 1:15 PM in Courtroom 10 before Judge
                        Amit P. Mehta. (zjd) (Entered: 12/12/2022)
12/12/2022              MINUTE ORDER granting The Press Coalition's 415 Motion to Access Trial
                        Exhibits. Per the court's prior instructions set forth in 327 , upon request, the
                        admitting party shall make available to the media at the end of each trial day a copy
                        of any admitted exhibit that has been published to the jury and not restricted by the
                        court for dissemination. The government may make exhibits available using the
                        drop box technical solution described in In re: Media Access to Video Exhibits in
                        Pretrial Hearings During the COVID-19 Pandemic, Standing Order No. 21-28
                        (BAH) (May 14, 2021). The admitting party shall so provide this same-day access
                        to The Press Coalition. The Press Coalition is granted permission to record, copy,
                        download, retransmit, and otherwise further publish the covered trial exhibits.
                        Signed by Judge Amit P. Mehta on 12/06/2022. (lcapm3) (Entered: 12/12/2022)
12/12/2022              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial/Opening
                        Statements on All Counts as to ROBERTO A. MINUTA (6), JOSEPH HACKETT
                        (7), DAVID MOERSCHEL (8), EDWARD VALLEJO (11) held on 12/12/2022.
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                          Panel of twelve (12) jurors and four (4) alternate jurors sworn. Jury Trial shall
                          resume on 12/13/2022 at 9:30 AM in Courtroom 10 before Judge Amit P. Mehta.
                          Bond Status of Defendants: all defendants remain on personal recognizance; Court
                          Reporter: Greg Mizanin; Defense Attorneys: William Shipley (6), Angela Halim (7),
                          Scott Weinberg (8), Connor Martin (8), Matthew Peed (11); US Attorneys: Jeffrey
                          Nestler, Alexandra Hughes, Troy Edwards, and Louis Manzo. (zjd) (Entered:
                          12/12/2022)
12/13/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial on All
                           Counts as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID
                           MOERSCHEL (8), EDWARD VALLEJO (11) held on 12/13/2022. Same twelve
                           (12) jurors and four (4) alternate jurors. Jury Trial shall resume on 12/14/2022 at
                           9:00 AM in Courtroom 10 before Judge Amit P. Mehta. Bond Status of Defendants:
                           all defendants remain on personal recognizance; Court Reporter: William Zaremba
                           (A.M.) and Greg Mizanin (P.M.); Defense Attorneys: William Shipley (6), Angela
                           Halim (7), Scott Weinberg (8), Connor Martin (8), Matthew Peed (11); US
                           Attorneys: Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and Louis Manzo.
                           (zjd) (Entered: 12/13/2022)
12/14/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                           as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL
                           (8), EDWARD VALLEJO (11) held on 12/14/2022. Case called for jury trial, but
                           not held. Panel of fifteen (15) jurors and alternates present. Jury Trial shall resume
                           on 12/15/2022 at 9:30 AM in Courtroom 10. Bond Status of Defendant: all
                           defendants remain on personal recognizance; Court Reporter: William Zaremba;
                           Defense Attorneys: William Shipley (6), Angela Halim (7), Scott Weinberg (8),
                           Connor Martin (8), Matthew Peed (11); US Attorneys: Jeffrey Nestler, Troy
                           Edwards, and Louis Manzo. (zjd) (Entered: 12/14/2022)
12/15/2022                 NOTICE OF HEARING as to ROBERTO A. MINUTA (6), JOSEPH HACKETT
                           (7), DAVID MOERSCHEL (8), EDWARD VALLEJO (11): In light of the delayed
                           court opening due to inclement weather, Jury Trial shall resume on 12/15/2022 at
                           11:00 AM in Courtroom 10 before Judge Amit P. Mehta. (zjd) (Entered: 12/15/2022)
12/15/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial on All
                           Counts as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID
                           MOERSCHEL (8), and EDWARD VALLEJO (11) held on 12/15/2022. Same
                           twelve (12) jurors and four (4) alternate jurors. Jury Trial shall resume on
                           12/16/2022 at 9:30 AM in Courtroom 10 before Judge Amit P. Mehta. Bond Status
                           of Defendants: all defendants remain on personal recognizance; Court Reporter:
                           William Zaremba (A.M.) and Greg Mizanin (P.M.); Defense Attorneys: William
                           Shipley (6), Angela Halim (7), Scott Weinberg (8), Connor Martin (8), Matthew
                           Peed (11); US Attorneys: Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and
                           Louis Manzo. Government Witness: Special Agent Kelsey Harris. (zjd) (Entered:
                           12/15/2022)
12/16/2022                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                           ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8),
                           and EDWARD VALLEJO (11) held on 12/16/2022. The juror in seat 16 (juror no.
                           0001) was excused from the panel and replaced by an alternate juror. Twelve (12)
                           jurors and three (3) alternate jurors now remain. Jury Trial shall resume on
                           12/19/2022 at 9:30 AM in Courtroom 10 before Judge Amit P. Mehta. Bond Status
                           of Defendants: all defendants remain on personal recognizance; Court Reporter:
                           William Zaremba; Defense Attorneys: William Shipley (6), Angela Halim (7), Scott
                           Weinberg (8), Connor Martin (8), Matthew Peed (11); US Attorneys: Kathryn
                           Rakoczy, Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and Louis Manzo.
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                          Government Witnesses: M.A. and Special Agent Kelsey Harris. (zjd) Modified on
                          12/19/2022 (zjd). (Entered: 12/19/2022)
12/18/2022           427 MOTION for Rule 106 PURSUANT TO THE TEXT OF THE RULE by ROBERTO
                         A. MINUTA. (Shipley, William) (Entered: 12/18/2022)
12/19/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8),
                          and EDWARD VALLEJO (11) held on 12/19/2022. Same twelve (12) jurors and
                          three (3) alternate jurors. Jury Trial shall resume on 12/20/2022 at 9:30 AM in
                          Courtroom 10 before Judge Amit P. Mehta. Bond Status of Defendants: all
                          defendants remain on personal recognizance; Court Reporters: William Zaremba
                          (A.M.) and Kelly Mortellite (P.M.); Defense Attorneys: William Shipley (6), Angela
                          Halim (7), Scott Weinberg (8), Connor Martin (8), Matthew Peed (11); US
                          Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and
                          Louis Manzo. Government Witnesses: Captain Ronald Ortega, Thomas Wickham,
                          Special Agent Sylvia Hilgeman. (zjd) (Entered: 12/19/2022)
12/20/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial on All
                          Counts as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID
                          MOERSCHEL (8), and EDWARD VALLEJO (11) held on 12/20/2022. Same panel
                          of twelve (12) jurors and three (3) alternate jurors. Jury Trial shall resume
                          12/21/2022 at 9:30 AM in Courtroom 10 before Judge Amit P. Mehta. Bond Status
                          of Defendants: all defendants remain on personal recognizance; Court Reporter:
                          William Zaremba (A.M.) and Kelly Mortellite (P.M.); Defense Attorneys: William
                          Shipley (6), Angela Halim (7), Scott Weinberg (8), Connor Martin (8), Matthew
                          Peed (11); US Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Alexandra Hughes,
                          Troy Edwards, and Louis Manzo; Government Witnesses: Special Agent Sylvia
                          Hilgeman and Special Agent Jennifer Banks. (zjd) (Entered: 12/20/2022)
12/21/2022                NOTICE OF HEARING as to ROBERTO A. MINUTA (6), JOSEPH HACKETT
                          (7), DAVID MOERSCHEL (8), EDWARD VALLEJO (11): Jury Trial proceedings
                          will resume on 12/22/2022 at 9:00 AM in Courtroom 10 before Judge Amit P.
                          Mehta. (zjd) (Entered: 12/21/2022)
12/21/2022                NOTICE OF HEARING as to ROBERTO A. MINUTA (6), JOSEPH HACKETT
                          (7), DAVID MOERSCHEL (8), and EDWARD VALLEJO (11): Status Conference
                          set for 12/21/2022 at 4:00 PM via videoconference before Judge Amit P. Mehta.
                          Members of the public may access the hearing by dialing the court's toll-free public
                          access line: (877) 848-7030, access code 321-8747. (zjd) (Entered: 12/21/2022)
12/21/2022                Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference
                          as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL
                          (8), and EDWARD VALLEJO (11) held via videoconference on 12/21/2022. Jury
                          Trial shall resume on 1/3/2023 at 9:30 AM in Courtroom 10 before Judge Amit P.
                          Mehta. Bond Status of Defendants: all defendants remain on personal recognizance,
                          Counsel waived appearances for Defendants Hackett (7), Moerschel (8), and Vallejo
                          (11); Court Reporter: William Zaremba; Defense Attorneys: William Shipley (6),
                          Angela Halim (7), Scott Weinberg (8), and Matthew Peed (11); US Attorneys:
                          Kathryn Rakoczy, Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and Louis
                          Manzo. (zjd) (Entered: 12/21/2022)
12/23/2022           433 First MOTION for New Trial , First MOTION for Judgment NOV by KENNETH
                         HARRELSON as to ELMER STEWART RHODES, III, KELLY MEGGS,
                         KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                         MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
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                          THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (Attachments: # 1
                          Memorandum in Support)(Geyer, Bradford) (Entered: 12/23/2022)
01/03/2023              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial on All
                        Counts as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID
                        MOERSCHEL (8), and EDWARD VALLEJO (11) held on 1/3/2023. Same panel of
                        twelve (12) jurors and three (3) alternate jurors. Jury Trial shall resume on 1/4/2023
                        at 9:30 AM in Courtroom 10 before Judge Amit P. Mehta. Bond Status of
                        Defendants: all defendants remain on personal recognizance; Court Reporters:
                        William Zaremba (A.M.) and Kelly Mortellite (P.M.); Defense Attorneys: William
                        Shipley (6), Angela Halim (7), Scott Weinberg (8), and Matthew Peed (11); US
                        Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and
                        Louis Manzo; Government Witnesses: Special Agent Sylvia Hilgeman and Caleb
                        Berry. (zjd) (Entered: 01/03/2023)
01/04/2023              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial on All
                        Counts as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID
                        MOERSCHEL (8), and EDWARD VALLEJO (11) held on 1/4/2023. Same panel of
                        twelve (12) jurors and three (3) alternate jurors. Jury Trial shall resume on 1/5/2023
                        at 9:30 AM in Courtroom 10 before Judge Amit P. Mehta. Bond Status of
                        Defendants: all defendants remain on personal recognizance; Court Reporters:
                        William Zaremba (A.M.) and Kelly Mortellite (P.M.); Defense Attorneys: William
                        Shipley (6), Angela Halim (7), Scott Weinberg (8), and Matthew Peed (11); US
                        Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and
                        Louis Manzo; Government Witnesses: Caleb Berry, Special Agent Lanelle Hawa,
                        and Special Agent Joanna Abrams. (zjd) (Entered: 01/04/2023)
01/05/2023              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                        ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8),
                        and EDWARD VALLEJO (11) held on 1/5/2023. The alternate juror in seat 14
                        (Juror #1468) was dismissed. Twelve (12) jurors and two (2) alternates now remain.
                        Jury Trial shall resume on 1/6/2023 at 09:30 AM in Courtroom 10 before Judge
                        Amit P. Mehta. Bond Status of Defendants: all defendants remain on personal
                        recognizance; Court Reporter: William Zaremba; Defense Attorneys: William
                        Shipley (6), Angela Halim (7), Scott Weinberg (8), and Matthew Peed (11); US
                        Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and
                        Louis Manzo; Government Witnesses: Special Agent Joanna Abrams and J.M. (zjd)
                        (Entered: 01/05/2023)
01/06/2023              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial on All
                        Counts as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID
                        MOERSCHEL (8), and EDWARD VALLEJO (11) held on 1/6/2023. Same panel of
                        twelve (12) jurors and two (2) alternate jurors. Jury Trial shall resume on 1/9/2023
                        at 9:30 AM in Courtroom 10 before Judge Amit P. Mehta. Bond Status of
                        Defendants: all defendants remain on personal recognizance; Court Reporter:
                        William Zaremba; Defense Attorneys: William Shipley (6), Angela Halim (7), Scott
                        Weinberg (8), Connor Martin (8), and Matthew Peed (11); US Attorneys: Kathryn
                        Rakoczy, Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and Louis Manzo;
                        Government Witnesses: Jamie Fleet, Officer Anthony Jackson. (zjd) (Entered:
                        01/06/2023)
01/09/2023              Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                        ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8),
                        and EDWARD VALLEJO (11) on All Counts held on 1/9/2023. Same panel of
                        twelve (12) jurors and two (2) alternate jurors. Jury Trial shall resume on 1/10/2023
                        at 9:30 AM in Courtroom 10 before Judge Amit P. Mehta. Bond Status of
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                          Defendant: all defendants remain on personal recognizance; Court Reporter:
                          William Zaremba (A.M.) and Christine Asif (P.M.); Defense Attorneys: William
                          Shipley (6), Angela Halim (7), Scott Weinberg (8), Connor Martin (8), Matthew
                          Peed (11); US Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Alexandra Hughes,
                          Troy Edwards, and Louis Manzo; Government Witnesses: Officer Ryan Salke, J.H.,
                          Special Agent Jennifer Banks, Special Agent Stephen Lieberman, Examiner Jennifer
                          Catherine Cain. (zjd) (Entered: 01/09/2023)
01/10/2023                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8),
                          and EDWARD VALLEJO (11) on All Counts held on 1/10/2023. Same panel of
                          twelve (12) jurors and two (2) alternate jurors. The Government rests its case. The
                          Court will defer ruling on Defendants' Rule 29 Motions until further briefing. Jury
                          Trial shall resume on 1/11/2023 at 9:30 AM in Courtroom 10 before Judge Amit P.
                          Mehta. Bond Status of Defendants: all defendants remain on personal recognizance;
                          Court Reporters: William Zaremba (A.M.) and Nancy Meyer (P.M.); Defense
                          Attorneys: William Shipley (6), Angela Halim (7), Scott Weinberg (8), Matthew
                          Peed (11); US Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Alexandra Hughes,
                          Troy Edwards, and Louis Manzo; Government Witnesses: Brian Ulrich and Special
                          Agent Byron Cody. (zjd) (Entered: 01/10/2023)
01/11/2023                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8),
                          and EDWARD VALLEJO held on 1/11/2023. Jurors not present for proceedings.
                          Jury Trial shall resume 1/12/2023 at 9:30 AM in Courtroom 10 before Judge Amit P.
                          Mehta. Bond Status of Defendants: all defendants remain on personal recognizance;
                          Court Reporter: William Zaremba; Defense Attorneys: William Shipley (6), Angela
                          Halim (7), Scott Weinberg (8), Matthew Peed (11); US Attorneys: Kathryn Rakoczy,
                          Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and Louis Manzo. (zjd) (Entered:
                          01/11/2023)
01/12/2023                Minute Entry for Jury Trial as to ROBERTO A. MINUTA (6), JOSEPH HACKETT
                          (7), DAVID MOERSCHEL (8), and EDWARD VALLEJO (11) held on 1/12/2023
                          before Judge Amit P. Mehta. Same jury and alternates. Trial shall resume 1/13/2023
                          @ 12:30 PM for a hybrid hearing without the jury. Jury Trial set for 1/13/2023 at
                          12:30 PM in Courtroom 10- In Person before Judge Amit P. Mehta. Bond Status of
                          Defendant: All defendants on personal recognizance; Court Reporter: William
                          Zaremba; Defense Attorney: William Shipley (6), Angela Halim (7), Scott Weinberg
                          (8), Matthew Peed (11); US Attorney: Kathryn Rakoczy, Jeffrey Nestler, Alexandra
                          Hughes, Troy Edwards, and Louis Manzo. Witnesses: Byron Codey (zjch, )
                          (Entered: 01/12/2023)
01/13/2023                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8),
                          and EDWARD VALLEJO (11) on All Counts held on 1/13/2023. Jurors not present
                          for proceedings. Jury Trial shall resume on 1/17/2023 at 9:30 AM in Courtroom 10
                          before Judge Amit P. Mehta. Bond Status of Defendants: all defendants remain on
                          personal recognizance, Defendants Hackett (7), Moerschel (8), and Vallejo (11)
                          waived their appearances and were not present for these proceedings; Court
                          Reporter: William Zaremba; Defense Attorneys: William Shipley (6), Angela Halim
                          (7), Scott Weinberg (8), Connor Martin (8), Matthew Peed (11); US Attorneys:
                          Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and Louis Manzo. (zjd) (Entered:
                          01/13/2023)
01/17/2023           443 Unopposed MOTION for Extension of Time to File Response/Reply by ELMER
                         STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
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                          WATKINS, THOMAS EDWARD CALDWELL as to ELMER STEWART
                          RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                          JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                          MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                          VALLEJO. (Attachments: # 1 Text of Proposed Order)(Fischer, David) (Entered:
                          01/17/2023)
01/17/2023                MINUTE ORDER granting Defendants' 443 Unopposed Motion for Extension of
                          Time to File Consolidated Reply as to Motion for Judgment of Acquittal and Motion
                          for New Trial. Defendants' Reply shall now be filed on or before January 24, 2023.
                          Signed by Judge Amit P. Mehta on 01/17/2023. (lcapm3) (Entered: 01/17/2023)
01/17/2023                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial as to
                          ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8),
                          and EDWARD VALLEJO (11) on All Counts held on 1/17/2023. Same panel of
                          twelve (12) jurors and two (2) alternate jurors. Defendant Vallejo rests his case. The
                          Government rests and does not present a rebuttal case. Jury Trial/Closing
                          Arguments set for 1/18/2023 at 9:30 AM in Courtroom 10 before Judge Amit P.
                          Mehta. Bond Status of Defendants: all defendants remain on personal recognizance;
                          Court Reporter: William Zaremba; Defense Attorneys: William Shipley (6), Angela
                          Halim (7), Scott Weinberg (8), Matthew Peed (11); US Attorneys: Kathryn Rakoczy,
                          Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and Louis Manzo. (zjd) (Entered:
                          01/17/2023)
01/18/2023                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial/Closing
                          Arguments as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID
                          MOERSCHEL (8), and EDWARD VALLEJO (11) on All Counts held on
                          1/18/2023. Same panel of twelve (12) jurors and two (2) alternate jurors. Jury
                          Trial/Closing Arguments shall resume on 1/19/2022 at 9:30 AM in Courtroom 10
                          before Judge Amit P. Mehta. Bond Status of Defendants: all defendants remain on
                          personal recognizance; Court Reporters: William Zaremba (A.M.) and Nancy Meyer
                          (P.M.); Defense Attorneys: William Shipley (6), Angela Halim (7), Scott Weinberg
                          (8), Connor Martin (8), Matthew Peed (11); US Attorneys: Kathryn Rakoczy,
                          Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and Louis Manzo. (zjd) (Entered:
                          01/18/2023)
01/18/2023          444 NOTICE Regarding Exhibits Formally Moved Into Evidence at the Conclusion of
                        the Government's Case at Trial by USA as to ROBERTO A. MINUTA, JOSEPH
                        HACKETT, DAVID MOERSCHEL, EDWARD VALLEJO (Edwards, Troy)
                        (Entered: 01/18/2023)
01/19/2023                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Trial/Closing
                          Arguments as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID
                          MOERSCHEL (8), and EDWARD VALLEJO (11) held on 1/19/2023. Same panel
                          of twelve (12) jurors and two (2) alternate jurors. Jury Deliberation began and the
                          alternate jurors were dismissed. Jury Deliberation shall resume on 1/20/2023 at 9:30
                          AM. Any proceedings shall take place in Courtroom 10 before Judge Amit P. Mehta.
                          Bond Status of Defendants: all defendants remain on personal recognizance; Court
                          Reporter: William Zaremba; Defense Attorneys: William Shipley (6), Angela Halim
                          (7), Scott Weinberg (8), Connor Martin (8), Matthew Peed (11); US Attorneys:
                          Kathryn Rakoczy, Jeffrey Nestler, Alexandra Hughes, Troy Edwards, and Louis
                          Manzo. (zjd) (Entered: 01/19/2023)
01/20/2023                Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Deliberation as
                          to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL
                          (8), and EDWARD VALLEJO (11) held on 1/20/2023. Same panel of twelve (12)
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                          deliberating jurors. Jury Deliberation shall resume 1/23/2023 at 9:30 AM. Any
                          proceedings shall take place in Courtroom 10 before Judge Amit P. Mehta. Bond
                          Status of Defendants: all defendants remain on personal recognizance. (zjd)
                          (Entered: 01/20/2023)
01/23/2023                 Minute Entry for proceedings held before Judge Amit P. Mehta: Jury Deliberation as
                           to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL
                           (8), and EDWARD VALLEJO (11) held and concluded on 1/23/2023. Same panel of
                           twelve (12) deliberating jurors. As to Defendant Minuta (6): Jury Verdict of Guilty
                           on Counts 1s, 2s, 3s, and 4s. Jury Verdict of Not Guilty on Count 10s. As to
                           Defendant Hackett (7): Jury Verdict of Guilty on Counts 1s, 2s, 3s, 4s, and 11s. Jury
                           Verdict of Not Guilty on Count 5s. As to Defendant Moerschel (8): Jury Verdict of
                           Guilty on Counts 1s, 2s, 3s, and 4s. Jury Verdict of Not Guilty on Counts 5s and
                           12s. As to Defendant Vallejo (11): Jury Verdict of Guilty on Counts 1s, 2s, 3s, and
                           4s. Meet and Confer Statement due by 2/1/2023. Bond Status of Defendants: all
                           defendants placed on home incarceration (PR/HISP); Court Reporter: William
                           Zaremba; Defense Attorneys: William Shipley (6), Angela Halim (7), Scott
                           Weinberg (8), and Matthew Peed (11); US Attorneys: Kathryn Rakoczy, Jeffrey
                           Nestler, Alexandra Hughes, Troy Edwards, and Louis Manzo. (zjd) (Entered:
                           01/23/2023)
01/23/2023           448 Jury Note as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID
                         MOERSCHEL (8), and EDWARD VALLEJO (11). (zjd) (Entered: 01/23/2023)
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                           as to ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL,
                           EDWARD VALLEJO in Jury Note. (Access to the PDF Document is restricted
                           pursuant to the E-Government Act. Access is limited to Counsel of Record and the
                           Court.) (zjd) (Entered: 01/23/2023)
01/23/2023           450 JURY VERDICT as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7),
                         DAVID MOERSCHEL (8), and EDWARD VALLEJO (11). (zjd) (Entered:
                         01/23/2023)
01/23/2023           451 Signature Page of Foreperson

                           as to ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL,
                           EDWARD VALLEJO in Jury Verdict. (Access to the PDF Document is restricted
                           pursuant to the E-Government Act. Access is limited to Counsel of Record and the
                           Court.) (zjd) (Entered: 01/23/2023)
01/23/2023           452 ORDER MODIFYING CONDITIONS OF RELEASE as to ROBERTO A.
                         MINUTA (6). Signed by Judge Amit P. Mehta on 1/23/2023. (zjd) (Entered:
                         01/23/2023)
01/24/2023           457 FINAL JURY INSTRUCTIONS as to Defendants ROBERTO A. MINUTA,
                         JOSEPH HACKETT, DAVID MOERSCHEL, EDWARD VALLEJO. (lcapm3)
                         (Entered: 01/24/2023)
01/24/2023           458 FINAL VERDICT FORM as to Defendants ROBERTO A. MINUTA, JOSEPH
                         HACKETT, DAVID MOERSCHEL, EDWARD VALLEJO. (lcapm3) (Entered:
                         01/24/2023)
01/24/2023           459 NOTICE of Joinder Out of Abundance of Caution Regarding ECF 432 by
                         KENNETH HARRELSON as to ELMER STEWART RHODES, III, KELLY
                         MEGGS, KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES,
                         ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN
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                          ULRICH, THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 432 Joint
                          MOTION for Judgment NOV judgment of acquittal (Geyer, Bradford) (Entered:
                          01/24/2023)
02/01/2023                MINUTE ORDER as to ROBERTO A. MINUTA (6), JOSEPH HACKETT (7),
                          DAVID MOERSCHEL (8), EDWARD VALLEJO (11). The court hereby refers
                          Defendants Minuta, Hackett, Moerschel, and Vallejo to the U.S. Probation Office
                          for preparation of presentence investigation reports. The final report for each
                          defendant shall be due on April 21, 2023. Signed by Judge Amit P. Mehta on
                          2/1/2023. (zjd) (Entered: 02/01/2023)
02/01/2023          467 OMNIBUS ORDER FOR REMAINING POST-TRIAL FILINGS AND
                        PROCEEDINGS as to ELMER STEWART RHODES, III, KELLY MEGGS,
                        KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA,
                        JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD CALDWELL,
                        and EDWARD VALLEJO. Please see attached Order. Signed by Judge Amit P.
                        Mehta on 02/01/2023. (lcapm3) (Entered: 02/01/2023)
02/02/2023                Set/Reset Hearings as to ROBERTO A. MINUTA (6): Sentencing set for 6/1/2023 at
                          9:30 AM in Courtroom 10 before Judge Amit P. Mehta. (zjd) (Entered: 02/02/2023)
02/02/2023                Set/Reset Hearings as to ELMER STEWART RHODES, III (1), KELLY MEGGS
                          (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), ROBERTO A.
                          MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), THOMAS
                          EDWARD CALDWELL (10), and EDWARD VALLEJO (11): Hearing to Resolve
                          Sentencing Issues set for 5/24/2023 at 9:30 AM in Courtroom 10 before Judge Amit
                          P. Mehta. (zjd) (Entered: 02/02/2023)
02/02/2023          468 AMENDED OMNIBUS ORDER FOR REMAINING POST-TRIAL FILINGS
                        AND PROCEEDINGS as to ELMER STEWART RHODES, III, KELLY MEGGS,
                        KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA,
                        JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD CALDWELL,
                        and EDWARD VALLEJO. Please see attached Order for amended schedule. Signed
                        by Judge Amit P. Mehta on 02/02/2023. (lcapm3) (Entered: 02/02/2023)
02/03/2023          469 MOTION pursuant to Rule 33 for new trial , MOTION for Acquittal by ROBERTO
                        A. MINUTA. (Shipley, William) (Entered: 02/03/2023)
02/21/2023          472 Unopposed MOTION for Extension of Time to File Combined Rule 29 and Rule 33
                        Motions by ROBERTO A. MINUTA. (Shipley, William) (Entered: 02/21/2023)
02/21/2023                MINUTE ORDER granting 472 Motion for Extension of Time as to ROBERTO A.
                          MINUTA (6). The motion deadline shall be extended to February 27, 2023. Signed
                          by Judge Amit P. Mehta on 02/21/2023. (lcapm3) (Entered: 02/21/2023)
02/27/2023          476 Second MOTION for Extension of Time to POST-TRIAL BRIEF by ROBERTO A.
                        MINUTA. (Shipley, William) (Entered: 02/27/2023)
02/27/2023                MINUTE ORDER granting 476 Motion for Extension of Time as to ROBERTO A.
                          MINUTA (6). The Rule 29/Rule 33 brief shall now be due on or before Thursday,
                          March 2, 2023. Signed by Judge Amit P. Mehta on 02/27/2023. (lcapm3) (Entered:
                          02/27/2023)
03/02/2023          478 MOTION pursuant to Rule 33 for new trial by ROBERTO A. MINUTA. (Shipley,
                        William) (Entered: 03/02/2023)
03/02/2023          479 MOTION for Acquittal by ROBERTO A. MINUTA. (Shipley, William) (Entered:
                        03/02/2023)
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03/07/2023         482 MOTION to Continue SENTENCING DATE by ROBERTO A. MINUTA. (Shipley,
                       William) (Entered: 03/07/2023)
03/13/2023         483 Memorandum in Opposition by USA as to ROBERTO A. MINUTA re 482 Motion
                       to Continue Sentencing Date (Rakoczy, Kathryn) (Entered: 03/13/2023)
03/24/2023         487 Unopposed MOTION for Extension of Time to File Opposition to Defendants' Rule
                       29 and Rule 33 Motions by USA as to ROBERTO A. MINUTA, JOSEPH
                       HACKETT, DAVID MOERSCHEL, EDWARD VALLEJO. (Edwards, Troy)
                       (Entered: 03/24/2023)
04/01/2023         509 MOTION to Modify Conditions of Release by ROBERTO A. MINUTA. (Shipley,
                       William) (Entered: 04/01/2023)
04/01/2023         510 NOTICE of Joinder with ECF No. 494 by ROBERTO A. MINUTA (Shipley,
                       William) (Entered: 04/01/2023)
04/02/2023         511 NOTICE of JOINDER by EDWARD VALLEJO as to ELMER STEWART
                       RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                       JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                       MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                       VALLEJO re 478 MOTION pursuant to Rule 33 for new trial , 479 MOTION for
                       Acquittal , 493 MOTION for Leave to File Motion under Seal, 482 MOTION to
                       Continue SENTENCING DATE (Peed, Matthew) (Entered: 04/02/2023)
04/03/2023         512 Unopposed MOTION for Extension of Time to File Opposition to Defendants' Rule
                       29 and Rule 33 Motions by USA as to ROBERTO A. MINUTA, JOSEPH
                       HACKETT, DAVID MOERSCHEL, EDWARD VALLEJO. (Edwards, Troy)
                       (Entered: 04/03/2023)
04/03/2023              MINUTE ORDER. The United States shall state its position as to 509 Motion to
                        Modify Conditions filed by Defendant Minuta by April 5, 2023. Signed by Judge
                        Amit P. Mehta on 04/03/2023. (lcapm3) (Entered: 04/03/2023)
04/04/2023              MINUTE ORDER granting 512 Motion for Extension of Time as to ROBERTO A.
                        MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), and EDWARD
                        VALLEJO (11). The government's Opposition to the Rule 29 and Rule 33 motions
                        from defendants in the November Trial Group shall be due on or before April 5,
                        2023. Signed by Judge Amit P. Mehta on 04/04/2023. (Entered: 04/04/2023)
04/05/2023         515 Memorandum in Opposition by USA as to ROBERTO A. MINUTA re 509 Motion
                       to Modify Conditions of Release (Edwards, Troy) (Entered: 04/05/2023)
04/05/2023         517 Memorandum in Opposition by USA as to ROBERTO A. MINUTA, JOSEPH
                       HACKETT, DAVID MOERSCHEL, EDWARD VALLEJO re 474 Motion for
                       Acquittal, 478 Motion pursuant to Rule 33 for new trial, 477 Motion for Leave to
                       File, 479 Motion for Acquittal (Edwards, Troy) (Entered: 04/05/2023)
04/07/2023              MINUTE ORDER granting in part and denying in part 509 Motion to Modify
                        Conditions of Release as to ROBERTO A. MINUTA (6). Defendant now stands
                        convicted of multiple serious felony charges, including seditious conspiracy.
                        Nothing presented at trial nor in Defendant's motion warrants modifying the home
                        incarceration condition of release that the court previously imposed. The court,
                        however, will permit Mr. Minuta to use an internet-connected device solely for the
                        purpose of communicating with his counsel, so that he may prepare for sentencing.
                        Signed by Judge Amit P. Mehta on 04/07/2023. (lcapm3) (Entered: 04/07/2023)
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04/10/2023         519 ORDER denying 496 Motion to Continue Sentencing; denying 498 Motion to
                       Continue as to KELLY MEGGS (2); denying 482 Motion to Continue as to
                       ROBERTO A. MINUTA (6). Please see attached Order. The court will extend the
                       partiea' response date to the draft PSR from April 7, 2023, to April 14, 2023, and the
                       due date of the final PSR to April 28, 2023. All other deadlines shall remain the
                       same. Signed by Judge Amit P. Mehta on 04/10/2023. (lcapm3) (Entered:
                       04/10/2023)
04/11/2023         520 Consent MOTION for Extension of Time to File Response/Reply in Support of Rule
                       29/33 Motions until April 17, 2023 by EDWARD VALLEJO as to ROBERTO A.
                       MINUTA, EDWARD VALLEJO. (Attachments: # 1 Text of Proposed Order)(Peed,
                       Matthew) (Entered: 04/11/2023)
04/12/2023               MINUTE ORDER granting 520 Motion for Extension of Time to File
                         Response/Reply as to ROBERTO A. MINUTA (6), EDWARD VALLEJO (11).
                         Defendants Vallejo and Minuta shall file their replies in support of their Rule 29/33
                         motion on or before April 17, 2023. Signed by Judge Amit P. Mehta on 04/12/2023.
                         (lcapm3) (Entered: 04/12/2023)
04/17/2023               MINUTE ORDER granting 530 Sealed Motion for Leave to File Document Under
                         Seal (This document is SEALED and only available to authorized persons.) as to
                         ROBERTO A. MINUTA (6). Signed by Judge Amit P. Mehta on 04/17/2023.
                         (lcapm3) (Entered: 04/17/2023)
04/17/2023         535 REPLY in Support by ROBERTO A. MINUTA re 478 MOTION pursuant to Rule
                       33 for new trial , 479 MOTION for Acquittal (Shipley, William) (Entered:
                       04/17/2023)
04/21/2023         540 Unopposed MOTION for Leave to File Surreply to Defendant Vallejo's Motions for
                       Acquittal and New Trial by USA as to ROBERTO A. MINUTA, JOSEPH
                       HACKETT, DAVID MOERSCHEL, EDWARD VALLEJO. (Attachments: # 1
                       Government's Surreply to Defendant Vallejo's Motions for Acquittal and New Trial)
                       (Edwards, Troy) (Entered: 04/21/2023)
05/05/2023         565 SENTENCING MEMORANDUM by USA as to ELMER STEWART RHODES,
                       III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO
                       A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO (Edwards, Troy) (Entered: 05/05/2023)
05/05/2023         568 SENTENCING MEMORANDUM by ROBERTO A. MINUTA (Attachments: # 1
                       Appendix, # 2 Appendix, # 3 Appendix)(Shipley, William) (Entered: 05/05/2023)
05/05/2023         604 MOTION for Upward Departure by USA as to ELMER STEWART RHODES, III,
                       KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                       MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                       CALDWELL, EDWARD VALLEJO. (See docket entry 565 to view document.)
                       (zltp) (Entered: 05/31/2023)
05/15/2023         577 REPLY by ROBERTO A. MINUTA re 565 SENTENCING MEMORANDUM
                       (Attachments: # 1 Appendix, # 2 Appendix, # 3 Appendix, # 4 Appendix)(Shipley,
                       William) Modified text to include link on 5/25/2023 (zltp). (Entered: 05/15/2023)
05/15/2023         580 REPLY by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                       KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA,
                       JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD CALDWELL,
                       EDWARD VALLEJO Sentencing Memoranda (Edwards, Troy) (Entered:
                       05/15/2023)
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05/18/2023         589 NOTICE of Waiver of Appearance and Request to Appear Via Zoom by ROBERTO
                       A. MINUTA (Shipley, William) (Entered: 05/18/2023)
05/22/2023         592 ORDER. At the Omnibus Hearing scheduled for Wednesday, May 24 at 9:30 a.m. in
                       Courtroom 20, counsel shall be prepared to proceed according to the following
                       schedule: 1.First, the court will hear any victim impact statements or testimony
                       applicable to all defendants. 2.Second, the court will deliver its opinion on
                       outstanding post-trial motions. 3.Third, the court will hear legal arguments
                       regarding the sentencing enhancements and restitution issues. If time permits, the
                       court may hear argument about the factual bases for sentencing enhancements with
                       respect to particular defendants. See attached Order. Signed by Judge Amit P. Mehta
                       on 05/22/2023. (lcapm3) (Entered: 05/22/2023)
05/23/2023              NOTICE OF HEARING as to ELMER STEWART RHODES, III (1), KELLY
                        MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), ROBERTO
                        A. MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), THOMAS
                        EDWARD CALDWELL (10), and EDWARD VALLEJO (11): The Omnibus
                        Hearing set for May 24, 2023 at 9:30 AM shall proceed in Ceremonial Courtroom
                        20. All sentencings will proceed in Courtroom 10. (zjd) (Entered: 05/23/2023)
05/23/2023              MINUTE ORDER. At the Omnibus hearing scheduled for tomorrow, May 24, 2023,
                        the government and counsel for Mr. Hackett should be prepared to address what the
                        evidence showed with respect to: (1) on or about which date Mr. Hackett deleted the
                        media from his phone that formed the basis for the obstruction count, and (2) what
                        evidence would establish that it was reasonably foreseeable to Mr. Hackett that, as
                        of that date, there would be a grand jury proceeding investigating his conduct.
                        Signed by Judge Amit P. Mehta on 05/23/2023. (lcapm3) (Entered: 05/23/2023)
05/24/2023              Minute Entry for proceedings held before Judge Amit P. Mehta: Omnibus Hearing
                        as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                        HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                        HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                        (10), and EDWARD VALLEJO (11) held on 5/24/2023. Defendants Minuta,
                        Hackett, Moerschel, Caldwell, and Vallejo appeared via videoconference. Bond
                        Status of Defendant: Defendants Rhodes (1), Meggs (2), Harrelson (3), and Watkins
                        (4) remain in-custody, Defendants Minuta (6), Hackett (7), Moerschel (8), Caldwell
                        (10), and Vallejo (11) remain on personal recognizance; Court Reporter: William
                        Zaremba; Defense Attorneys: Phillip Linder (1), James Lee Bright (1), Edward
                        Tarpley, Jr. (1), Stanley Woodward (2), Bradford Geyer (3), Jonathan Crisp (4),
                        William Shipley (6), Angela Halim (7), Scott Weinberg (8), David Fischer (10), and
                        Matthew Peed (11); US Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Alexandra
                        Hughes, Troy Edwards, Louis Manzo; Probation Officer: Crystal Lustig; Witnesses:
                        Officer Christopher Owens, Special Agent David Lazarus, Officer Harry Dunn,
                        V.B., and Terri McCullough. (zjd) (Entered: 05/24/2023)
05/25/2023              MINUTE ORDER. For the reasons stated on the record at Mr. Rhodes' sentencing
                        hearing held today, the court concludes that (1) the 3-level enhancement for
                        substantial interference with the administration of justice under 2J1.2(b)(2) is
                        applicable, and (2) under Circuit precedent, control is a necessary element of a role-
                        in-the-offense enhancement under 3B1.1. Signed by Judge Amit P. Mehta on
                        05/25/2023. (lcapm3) (Entered: 05/25/2023)
06/01/2023              Minute Entry for proceedings held before Judge Amit P. Mehta: Sentencing held on
                        6/1/2023 as to ROBERTO A. MINUTA (6). As to Counts 1s, 2s, 3s, and 4s of the
                        167 Superseding Indictment, the Defendant is sentenced to concurrent terms of 54
                        months of incarceration followed by 36 months of supervised release. Bond Status
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                          of Defendant: remains on personal recognizance, ordered to self-surrender; Court
                          Reporter: William Zaremba; Defense Attorney: William Shipley, Jr.; US Attorneys:
                          Kathryn Rakoczy, Alexandra Hughes, Troy Edwards, and Louis Manzo; Probation
                          Officer: Crystal Lustig. (zjd) (Entered: 06/01/2023)
06/06/2023                 MINUTE ORDER. The government shall submit its memorandum and any
                           evidence in support of a restitution award by June 23, 2023; Defendants shall file a
                           consolidated opposition by July 12, 2023; and the government shall file its reply by
                           July 22, 2023. Signed by Judge Amit P. Mehta on 06/06/2023. (lcapm3) (Entered:
                           06/06/2023)
06/08/2023           631 JUDGMENT as to ROBERTO A. MINUTA. Statement of Reasons Not Included.
                         Signed by Judge Amit P. Mehta on 6/8/2023. (zltp) (Entered: 06/16/2023)
06/08/2023           632 STATEMENT OF REASONS as to ROBERTO A. MINUTA. re 631 Judgment
                         Access to the PDF Document is restricted per Judicial Conference Policy. Access is
                         limited to Counsel of Record and the Court. Signed by Judge Amit P. Mehta on
                         6/8/2023. (zltp) (Entered: 06/16/2023)
06/09/2023           614 NOTICE OF WITHDRAWAL OF APPEARANCE by USA as to ELMER
                         STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                         WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT,
                         DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL,
                         EDWARD VALLEJO (Baset, Ahmed) (Entered: 06/09/2023)
06/14/2023           628 NOTICE OF APPEAL - Final Judgment by ROBERTO A. MINUTA Fee Status: No
                         Fee Paid. Parties have been notified. (Shipley, William) (Entered: 06/14/2023)
06/16/2023           633 Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to US
                         Court of Appeals. The fee was not paid because it was filed in forma pauperis as to
                         ROBERTO A. MINUTA re 628 Notice of Appeal - Final Judgment. (zltp) (Entered:
                         06/16/2023)
06/20/2023           636 APPLICATION for Access to Trial Exhibits by CONRAD SMITH as to ELMER
                         STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                         WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT,
                         DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL,
                         EDWARD VALLEJO. (Attachments: # 1 Text of Proposed Order)(zhsj) (Entered:
                         06/20/2023)
06/20/2023           637 ORDER granting 636 Motion to Access Trial Exhibits. See attached Order. Signed
                         by Judge Amit P. Mehta on 06/20/2023. (lcapm3) (Entered: 06/20/2023)
06/22/2023           639 Unopposed MOTION for Extension of Time to File Memorandum and Evidence
                         Regarding Restitution by USA as to ELMER STEWART RHODES, III, KELLY
                         MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                         MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, EDWARD VALLEJO.
                         (Edwards, Troy) (Entered: 06/22/2023)
06/23/2023                 MINUTE ORDER granting 639 Unopposed Motion for Extension of Time to File.
                           The government's initial restitution memorandum and evidence is now due on or
                           before July 7, 2023; the defendants' response in opposition is due on or before July
                           26, 2023; and the government's reply is due on or before August 5, 2023. Signed by
                           Judge Amit P. Mehta on 06/23/2023. (lcapm3) (Entered: 06/23/2023)
06/23/2023           640 MOTION for Release from Custody Pending Appeal by ROBERTO A. MINUTA.
                         (Shipley, William) (Entered: 06/23/2023)
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07/05/2023         647 Memorandum in Opposition by USA as to ROBERTO A. MINUTA re 640 Motion
                       for Release from Custody (Edwards, Troy) (Entered: 07/05/2023)
07/07/2023         654 NOTICE of Brief Regarding Restitution by USA as to ELMER STEWART
                       RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                       ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, EDWARD
                       VALLEJO (Attachments: # 1 Exhibit)(Edwards, Troy) (Entered: 07/07/2023)
07/12/2023         662 NOTICE OF APPEAL - Final Judgment by USA as to ROBERTO A. MINUTA Fee
                       Status: No Fee Paid. Parties have been notified. (Nestler, Jeffrey) (Main Document
                       662 flattened & replaced on 7/13/2023.) (ztnr) (Entered: 07/12/2023)
07/12/2023         666 REPLY in Support by ROBERTO A. MINUTA re 640 MOTION for Release from
                       Custody Pending Appeal (Shipley, William) (Entered: 07/12/2023)
Use Case 1:22-cr-00015-APM             Document 671           Filed 07/14/23                  CO-290
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 Notice of Appeal Criminal                                                                  Rev. 3/88



          United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                           )
                                                    )
                       vs.                          )        Criminal No. 22-cr-15 (APM)
                                                    )
  ROBERTO A. MINUTA                                 )


                                      NOTICE OF APPEAL


Name and address of appellant:                     United States of America




Name and address of appellant’s attorney:          Jeffrey Nestler, Assistant US Attorney
                                                   Office of the US Attorney for DC
                                                   601 D Street, NW Room 5.1501
                                                   Washington, DC 20253

Offense: 18 USC Sec. 2384; 18 USC Sec. 1512(k); 18 USC Secs. 1512(c)(2) and 2; 18 USC Sec. 372

Concise statement of judgment or order, giving date, and any sentence:
     Sentence imposed on June 1, 2023 (judgment entered on the docket on June 16, 2023), sentencing
     defendant to a term of 54 months' imprisonment on each count, to run concurrently, followed by a
     term of 36 months' supervised release on each count, to run concurrently; assessment of $400.00

Name and institution where now confined, if not on bail: on bail


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.
           July 12, 2023                                      United States of America
 DATE                                               APPELLANT
                                                                      Jeffrey Nestler
                                                    ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE         ✔
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal?                          YES             NO ✔
Has counsel ordered transcripts?                                YES ✔           NO
Is this appeal pursuant to the 1984 Sentencing Reform Act?      YES             NO ✔




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